             Case 23-60507-6-pgr      Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49                          Desc
                                        Main Document     Page 1 of 92


                                      




                                      Ilan D. Scharf                            2FWREHU              212.561.7721
                                                                                                        ischarf@pszjlaw.com



                                  
:,/0,1*721'(
/26$1*(/(6&$
6$1)5$1&,6&2&$
                                      
1(:<25.1<                 9,$(/(&7521,&),/,1*
+2867217;

1257+0$5.(7675((7                  +RQ3DWULFN*5DGHO
WK)/225                               86%DQNUXSWF\&RXUW
32%2;
:,/0,1*721
                                          $OH[DQGHU3LUQLH86&RXUWKRXVH
'(/$:$5(                      DQG)HGHUDO%XLOGLQJ
7(/(3+21(                  %URDG6WUHHW
)$&6,0,/(                  8WLFD1<

/26$1*(/(6                                      5H        7KH5RPDQ&DWKROLF'LRFHVHRI2JGHQVEXUJ1HZ
6$17$021,&$%/9'                                     <RUN&DVH1R                     
WK)/225
/26$1*(/(6
&$/,)251,$
                                      'HDU-XGJH5DGHO
7(/(3+21(
)$&6,0,/(
                                      :HDUHFRXQVHOWRWKH2IILFLDO&RPPLWWHHRI8QVHFXUHG&UHGLWRUV WKH
                                      ³&RPPLWWHH´ LQWKHDERYHUHIHUHQFHGEDQNUXSWF\FDVH:HZULWHLQ
6$1)5$1&,6&2                        UHVSRQVHWR L WKH'HEWRU¶V Letter Re Proposed Orders Establishing
21(6$1620(675((7                   Bar Date and Order Referring Matters to Mediation>'RF1R@
WK)/22568,7(
                                        WKH³'HEWRU%DU'DWH2UGHU/HWWHU´ DQG LL /0,¶V/HWWHUWRWKH
6$1)5$1&,6&2
&$/,)251,$
                                      %DQNUXSWF\ &RXUW ILOHG RQ 2FWREHU   >'RF 1R @ WKH
7(/(3+21(
                                      ³/0,/HWWHU´ 
)$&6,0,/(
                                      
                                      )LUVW/0,¶V/HWWHUDWWDFKHVDSURSRVHG%DU'DWH2UGHU /0,/HWWHU
1(:<25.                             ([KLELWWKH³/0,3URSRVHG%DU'DWH2UGHU´ WKDWVXEVWDQWLDOO\
7+,5'$9(18(                     H[SDQGVWKHGHILQLWLRQRI³$XWKRUL]HG3DUWLHV´HQWLWOHGWRUHFHLYHWKH
WK)/225
1(:<25.
                                      $EXVH&ODLPV8QGHU/0,¶VSURSRVHGGHILQLWLRQWKH,QVXUHUVZRXOG
1(:<25.                  HIIHFWLYHO\EHJLYHQFDUWHEODQFKHWRSURYLGHWKH$EXVH&ODLPVWRDQ\
7(/(3+21(
                                      WKLUGSDUW\WKH\FKRRVH
)$&6,0,/(              
                                      ,WLVQRZRQGHUWKDW/0,UHTXHVWVWKLVH[SDQVLYHODQJXDJH±ZKLFKWR
7(;$6                                FRXQVHO¶VNQRZOHGJHKDVQRWEHHQXVHGLQDQ\SULRU'LRFHVDQFDVH
/28,6,$1$675((7
                                      5HFHQWO\WKH ,QWHUVWDWH)LUH  &DVXDOW\ &RPSDQ\ 1DWLRQDO 6XUHW\
68,7(
+286721
                                      &RUSRUDWLRQ DQGRU )LUHPDQ¶V )XQG ,QVXUDQFH &RPSDQ\
7(;$6

7(/(3+21(
                                      
                                      ϭ
)$&6,0,/(               &DSLWDOL]HGWHUPVXVHGDQGQRWRWKHUZLVHGHILQHGKHUHLQKDYHWKHPHDQLQJ
                                      DVFULEHGWKHUHWRLQWKH/0,/HWWHU

:(%    ZZZSV]MODZFRP
                                      '2&6B'(
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49                         Desc
                        Main Document     Page 2 of 92

                          




                          +RQ3DWULFN*5DGHO
                          2FWREHU
                          3DJH
                      
                      
                        FROOHFWLYHO\WKH³,QWHUVWDWH,QVXUHUV´RU³,QWHUVWDWH´ DQG$OOLDQ]
                      5HLQVXUDQFH $PHULFD ,QF GED $OOLDQ] 5HVROXWLRQ 0DQDJHPHQW
                        ³$=5$´  GLVFORVHG D EUHDFK RI WKH EDU GDWH RUGHUV LQ VHYHUDO
                      'LRFHVDQFDVHVEDVHGRQWKH,QWHUVWDWH,QVXUHUVSURYLGLQJLQIRUPDWLRQ
                      IURP VH[XDO DEXVH FODLPV WR D SDUW\ QRW DXWKRUL]HG XQGHU DQ\
                      DSSOLFDEOH EDU GDWH RUGHU ZKR WKHQ LQFOXGHG VXFK LQIRUPDWLRQ LQ D
                      FODLPV GDWDEDVH PDLQWDLQHG E\ WKDW XQDXWKRUL]HG WKLUG SDUW\ DQG
                      DYDLODEOHWREHVHDUFKHGE\FOLHQWVDOVRQRWDXWKRUL]HGSDUWLHVRIWKDW
                      WKLUGSDUW\
                      
                      7KLV&RXUWVKRXOGQRWSHUPLWVXFKDQH[SDQVLRQLQ$XWKRUL]HG3DUWLHV
                      XQGHUWKH%DU'DWH2UGHU$QHEXORXVDQGRSDTXHSURFHVVPD\FKLOO
                      VXUYLYRUV¶ GHVLUH WR ILOH FODLPV LI WKH\ GR QRW NQRZ ZKHUH WKHLU
                      FRQILGHQWLDOLQIRUPDWLRQLVJRLQJ)XUWKHUWKHUHLVQREDVLVWRDOORZ
                      GLVFORVXUHRIVHQVLWLYHLQIRUPDWLRQWRDQ\SDUW\DQLQVXUHUGHHPVDQ
                      DSSURSULDWH\HWVHFUHWUHFLSLHQW)LQDOO\LWLVZKROO\LQDSSURSULDWH
                      WRSHUPLWGLVFORVXUHRIWKHVHQVLWLYHLQIRUPDWLRQLQWKH$EXVH&ODLPV
                      WR WKLUG SDUWLHV ZLWKRXW LQIRUPLQJ WKH &RPPLWWHH DQG WKH 'LRFHVH
                      ZKDWVSHFLILFSDUW\LVWRUHFHLYHWKHLQIRUPDWLRQ,QVWHDGWKH'LRFHVH
                      DQG WKH &RPPLWWHH VKRXOG EH SURYLGHG ZLWK QRWLFH RI DQ\ VSHFLILF
                      SDUW\WKDWDQ,QVXUHUUHTXHVWVEHDQ$XWKRUL]HG3DUW\7RWKHH[WHQW
                      WKDWWKH'LRFHVHRU&RPPLWWHHGRQRWDJUHHWRWKHDGGLWLRQRIVXFK
                      $XWKRUL]HG3DUW\WKHUHOHYDQW,QVXUHUPD\VHHNUHOLHIIURPWKLV&RXUW
                      $WWKHKHDULQJKHOGRQ2FWREHU WKH³+HDULQJ´ WKHLQVXUHUV
                      H[SUHVVHGFRQFHUQDERXWWKH&RXUW¶VDELOLW\WRSUHVLGHRYHUSRWHQWLDO
                      SHUMXU\ LI FODLP IRUPV ZHUH VXEMHFW WR D PHGLDWLRQ SULYLOHJH 7KH
                      LQVXUHUV QRZ VHHN WR DYRLG GLVFORVXUH RU RYHUVLJKW E\ WKH &RXUW RU
                      RWKHUSDUWLHVUHJDUGLQJGLVFORVXUHRIVHQVLWLYHSHUVRQDOLQIRUPDWLRQ
                      7KH&RXUWVKRXOGQRWFRXQWHQDQFHWKHLQVXUHUV¶F\QLFDOUHTXHVW
                      
                      Second/0,UHJXUJLWDWHVDUJXPHQWVLWPDGHLQLWVSULRUILOLQJVDQGDW
                      WKH +HDULQJ IRU WKH DGGLWLRQ RI QXPHURXV TXHVWLRQV WR WKH $EXVH

                      
                      Ϯ
                       SeeLetters of Todd C. Jacobs on Behalf of the Interstate InsurersILOHGLQWKH
                      IROORZLQJFDVHV L 5RPDQ&DWKROLF'LRFHVHRI6\UDFXVH1HZ<RUNSHQGLQJLQ
                      WKH86%DQNUXSWF\&RXUWIRUWKH1RUWKHUQ'LVWULFWRI1HZ<RUN&DVH1R
                      >'RF1R@ LL 7KH'LRFHVHRI5RFKHVWHUSHQGLQJLQWKH:HVWHUQ
                      'LVWULFWRI1HZ<RUN&DVH1R ³5RFKHVWHU´ >'RF1R@ LL 7KH
                      5RPDQ&DWKROLF'LRFHVHRI5RFNYLOOH&HQWUH1HZ<RUNSHQGLQJLQWKH6RXWKHUQ
                      'LVWULFWRI1HZ<RUN&DVH1R>'RF1R@DQG LY WKH'LRFHVHRI
                      &DPGHQ1HZ-HUVH\SHQGLQJLQWKH86%DQNUXSWF\&RXUWIRUWKH'LVWULFWRI
                      1HZ-HUVH\&DVH1R>'RFNHW1R@͘$FRS\RIWKH/HWWHUILOHGLQ
                      5RFKHVWHULVDWWDFKHGKHUHWRDV([KLELW$


                      '2&6B'(
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49                   Desc
                        Main Document     Page 3 of 92

                          




                          +RQ3DWULFN*5DGHO
                          2FWREHU
                          3DJH
                      
                      
                      &ODLP6XSSOHPHQW)RUWKHUHDVRQVVHWIRUWKDWWKH+HDULQJDQGLQWKH
                      &RPPLWWHH¶V5HVSRQVHWR/0,¶V/LPLWHG2EMHFWLRQWRWKH%DU'DWH
                      DQG &HQWXU\¶V 2EMHFWLRQ WR WKH %DU 'DWH >'RF 1R @ WKH
                      ³&RPPLWWHH %DU 'DWH 5HVSRQVH´  WKH &RPPLWWHH REMHFWV WR WKH
                      LQFOXVLRQ RI WKHVH DGGLWLRQDO EXUGHQVRPH TXHVWLRQV WR WKH $EXVH
                      &ODLP6XSSOHPHQW5DWKHUWKDQUHSHDWLWVDUJXPHQWVWKH&RPPLWWHH
                      UHIHUVWRWKH&RPPLWWHH%DU'DWH5HVSRQVH
                      
                      Third/0,¶VUHTXHVWIRUEODQNHWSHUPLVVLRQWRXVHRI$EXVH&ODLP
                      6XSSOHPHQWVLQGHSRVLWLRQVVKRXOGEHGHQLHGDQGDQ\VXFKXVHVKRXOG
                      EHGHWHUPLQHGRQDFDVHE\FDVHEDVLV
                      
                      Finally/0,DUJXHVWKDWWKH$EXVH&ODLP6XSSOHPHQWVKRXOGQRWEH
                      VXEMHFW WR D PHGLDWLRQ SULYLOHJH  +RZHYHU EDVHG RQ WKH &RXUW¶V
                      FRPPHQWV DW WKH +HDULQJ WKH SURSRVHG %DU 'DWH 2UGHU QR ORQJHU
                      SURYLGHVIRUDSSOLFDWLRQRIDPHGLDWLRQSULYLOHJHEXWLQVWHDGSHUPLWV
                      $EXVH&ODLPDQWVZKRDUHVXEMHFWWRDQREMHFWLRQWRWKHLU$EXVH&ODLP
                      WRWDNHGLVFRYHU\
                      
                      :LWKUHVSHFWWRWKH'HEWRU%DU'DWH/HWWHUWKH&RPPLWWHHDJUHHVWKDW
                      WKH RXWVWDQGLQJ LVVXH LV WKH ODQJXDJH LQ 6HFWLRQ  F L   7KH
                      &RPPLWWHHDWWDFKHVDV([KLELW%KHUHWRWKH&RPPLWWHH¶VSURSRVHG
                      %DU'DWH2UGHUDQGWKH&RPPLWWHHDWWDFKHVDUHGOLQHRILWVSURSRVHG
                      RUGHU DJDLQVW WKH RQH ILOHG ZLWK WKH 'HEWRU¶V %DU 'DWH /HWWHU DV
                      ([KLELW&KHUHWR
                      
                      
                              

                                                      5HJDUGV
                                                      Ilan D. Scharf
                                                      ,ODQ'6FKDUI



                                                      


                                                      


                                                      

                      


                      '2&6B'(
     Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                             Main Document     Page 4 of 92



                                      ([KLELW$





 Case 23-60507-6-pgr                Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49                                        Desc
                                      Main Document     Page 5 of 92




                                                                                                      7RGG&-DFREV
                                                                                                      d: ( 
                                                                                                      WMDFREV@phrd.com




September 2, 2023

VIA ELECTRONIC FILING


Hon. Paul R. Warren
United States Bankruptcy Court
Western District of New York
100 State Street
Rochester, New York 14614


RE:     In Re: The Diocese of Rochester, Case No. 19-20905-PRW (Bankr. W.D.N.Y.)
        Notification of Disclosure Under Confidentiality Agreement (ECF No. 425)

Dear Judge Warren:

This firm represents Interstate Fire & Casualty Company and National Surety Corporation
(collectively, the “Interstate Insurers”) in the above-referenced bankruptcy case. We write
on behalf of the Interstate Insurers and their affiliate and claims handler, Allianz
Reinsurance America, Inc., dba, Allianz Resolution Management (“AZRA”), to notify the
Court of the limited disclosure of certain information that may be considered confidential
under the Order Establishing Deadline For Filing Proof of Claim and Approving the Claim
Form and Manner of Notice Thereof (“Order”) and the corresponding Authorized Party
Confidentiality Agreement Regarding Sexual Abuse Proofs of Claim (“Authorized Party
Agreement”) (ECF No. 425). AZRA provides this notice under ¶ 7 of the Authorized Party
Agreement. As discussed more fully below, AZRA believes that the disclosure was for a
Permitted Use under the Authorized Party Agreement.

AZRA contracts with Insurance Services Office (“ISO”) for access to ISO’s “ClaimSearch”
product to assist AZRA in processing claims and detecting claims fraud. ISO is a long-
standing and well-regulated manager and provider of insurance claims information.
ClaimSearch is a comprehensive system for improving claims processing and preventing
fraud in the property and casualty insurance industry. It does so by allowing Participating
Organizations with a password and login—generally limited to entities in the business of
providing insurance, claims administrators, and select law enforcement—to access
essential data for researching prior-loss histories, identifying claims patterns, and
detecting suspect claims. When a Participating Organization uses ClaimSearch as it
processes a claim a record may be created for that claimant containing certain limited



      Parker, Hudson, Rainer & Dobbs LLP • 7ZR15LYHUVLGH3OD]D, Suite &KLFDJR,OOLQRLV • t: (404) 523Ǧ5300 • phrd.com
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49
                                                                  Hon.          Desc
                                                                       Paul R. Warren
                               Main Document     Page 6 of 92     September 2, 2023
                                                                                          Page 2
                                                                           _____________________


information such as the claimant’s name, the insured on the policy at issue, and general
and categorical descriptions of the claimant’s alleged injury and claimed loss. If a second
Participating Organization submits or has submitted a claim or inquiry for that claimant,
they may receive a match report containing the record created from the prior Participating
Organization’s claim submission.

ISO has strict confidentiality agreements with each Participating Organization as well as
robust Privacy and Security Policies. It is also regulated and operates consistent with
applicable privacy obligations, including those under the Health Insurance Portability and
Accountability Act of 1996 (HIPPA); the Gramm-Leach-Bliley Act and similar state or local
statute, rule and regulation; and the Federal Drivers Privacy Protection Act. ISO
Participating Organizations are required, among other things, to ensure that ClaimSearch
is used exclusively for the purpose of insurance claims processing, investigation and
fraud detection and prevention, and that such information is not used for any other
purpose. Participating Organizations and ISO also formally agree to keep ClaimSearch
information secure from unauthorized disclosure and to not share the information with
anyone other than other Authorized Users of ClaimSearch. Finally, Participating
Organizations agree to comply with credentialing procedures and to institute their own
training and procedures to ensure compliance with the ISO Privacy and Security Policies
and applicable laws and regulations.

As an automatic part of its claims processing, and to reduce and detect fraud, limited
information regarding AZRA’s claims are provided to ISO through ISO’s ClaimSearch
program, including claimants’ names, a categorical description of their alleged injury; a
general loss cause description; and the insured on the policy at issue. 1 As AZRA was
processing the claims for this matter, and because of how the claims were provided to
AZRA for this matter specifically, the information listed above was automatically sent to
ISO for no more than 163 claimants. At the time it was sent, ISO had not been made
aware of the Order, and therefore had not signed the Authorized Party Agreement in this
case. For 162 of those claimants, an ISO record was created but there was no match in
the ClaimSearch database, meaning the information was not provided to any other
Participating Organization, or match reports were created but provided only to AZRA, and
not to any other Participating Organization. Only for 1 claimant was a record created that
was later provided to another Participating Organization (i.e., another insurance provider).
AZRA is not aware of any further disclosure of this information and AZRA has contacted
ISO and worked with ISO to void the confidential claimant information it received. This
means that the information is only visible to AZRA and ISO and is not available to any
other party. The data was reviewed by ISO only to the extent necessary to void it.
Records have been maintained for purposes of this disclosure.

As noted above, the disclosure was for a Permitted Use under the Authorized Party
Agreement, i.e., “the evaluation, prosecution, or defense of the claims asserted in such
Sexual Abuse Proofs of claim in the Debtor’s Chapter 11 Case, any related adversary

1 A mock address is also provided to ISO with the claimant information that does not correspond with the

claimant’s real address.
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49
                                                                   Hon.          Desc
                                                                        Paul R. Warren
                                Main Document     Page 7 of 92     September 2, 2023
                                                                                           Page 3
                                                                            _____________________


proceedings or contested matters in the Chapter 11 Case, any related insurance or
reinsurance coverage demands, claims, disputes, or litigation, and settlement
negotiations or mediations regarding all of the foregoing . . . .” Authorized Party
Agreement ¶ 4.2 AZRA acknowledges that the disclosure to ISO should not have
occurred until ISO was made aware of the Order and signed the Authorized Party
Agreement. Although ISO was not aware of the Authorized Party Agreement when it
received the confidential claimant information, ISO has now signed the Authorized Party
Agreement for this matter (attached hereto) and voided the confidential information from
the ClaimSearch database.3 Accordingly, AZRA has attempted to comply with its
obligations under the Order and Agreement and AZRA is not aware of any harm caused
by this limited disclosure.

AZRA has specially retained outside counsel to advise on this matter, Steven D. Allison
and Samrah R. Mahmoud (applications for admission pro hac vice will be forthcoming
shortly) of Troutman Pepper Hamilton Sanders LLP. They are happy to answer any
additional questions, whether at a hearing or by written submission, that the Court may
have.
Respectfully submitted,

/s/ 7RGG&-DFREV

7RGG&-DFREV
+DUULV:LQVEHUJ
PARKER, HUDSON, RAINER & DOBBS LLP

cc:     Steven D. Allison (steven.allison@troutman.com)
        Samrah R. Mahmoud (samrah.mahmoud@troutman.com)
        All Parties Receiving Notice via ECF




2 Although ISO did not sign the Authorized Party Agreement prior to the disclosures to ISO referenced

above, ISO’s agreement with AZRA contains confidentiality provisions that note that most of the
information provided by AZRA consists of confidential information, and the agreement restricts ISO from
using such confidential information other than for the performance of its obligations under the agreement.
Likewise, ISO’s Privacy and Security Policies bind AZRA and ISO, and apply here.
3 Further, the disclosure to ISO, a consultant of AZRA, is contemplated under ¶ 2(d) of a Confidentiality

Agreement between the Debtor and various insurance carriers.
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                        Main Document     Page 8 of 92




        ISO
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                        Main Document     Page 9 of 92
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                       Main Document     Page 10 of 92
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                       Main Document     Page 11 of 92




        ISO
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                       Main Document     Page 12 of 92
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                       Main Document     Page 13 of 92
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                       Main Document     Page 14 of 92




       ISO
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                       Main Document     Page 15 of 92
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                       Main Document     Page 16 of 92
     Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                            Main Document     Page 17 of 92



                                      ([KLELW%





    Case 23-60507-6-pgr                Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                        Main Document     Page 18 of 92
                                                                 &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                                                                   
                                                                                             




81,7('67$7(6%$1.5837&<&2857
1257+(51',675,&72)1(:<25.
                                                      
  ,QUH                                              
                                                      &DVH1R 3*5 
  7KH5RPDQ&DWKROLF'LRFHVHRI                       
  2JGHQVEXUJ1HZ<RUN                               &KDSWHU
                                                      
  'HEWRU         
                                                  

            25'(5(67$%/,6+,1*%$5'$7(6)25),/,1*3522)62)&/$,0
              $1'$33529,1*7+()250$1'0$11(52)127,&(7+(5(2)

            8SRQ WKH PRWLRQ RI 7KH 5RPDQ &DWKROLF 'LRFHVH RI 2JGHQVEXUJ 1HZ <RUN WKH

³'LRFHVH´ IRUHQWU\RIDQRUGHU D HVWDEOLVKLQJEDUGDWHVE\ZKLFKSURRIVRIFODLPDJDLQVWWKH

'LRFHVH¶VEDQNUXSWF\HVWDWHPXVWEHILOHG E DSSURYLQJWKHSURSRVHGIRUPWREHXVHGIRUILOLQJ

SURRIV RI FODLP DQG WKH DEXVH FODLP VXSSOHPHQW F  DSSURYLQJ SURFHGXUHV IRU PDLQWDLQLQJ WKH

FRQILGHQWLDOLW\RIFHUWDLQFODLPV G DSSURYLQJWKHIRUPDQGPDQQHURIQRWLFHRIWKHGHDGOLQHVWR

ILOH SURRIV RI FODLP DQG H  JUDQWLQJ UHODWHG UHOLHI >'RFNHW 1R @ WKH ³0RWLRQ´  DQG DOO




    &DSLWDOL]HGWHUPVXVHGEXWQRWGHILQHGKHUHLQVKDOOKDYHWKHPHDQLQJVDVFULEHGWRWKHPLQWKH0RWLRQ

                                                             

'2&6B'(
 Case 23-60507-6-pgr           Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                Main Document     Page 19 of 92
                                                         &RPPLWWHH3URSRVHG%DU'DWH2UGHU


REMHFWLRQVWRWKH0RWLRQKDYLQJEHHQUHVROYHGRURYHUUXOHGDQGXSRQILQGLQJWKDWWKLV&RXUWKDV

MXULVGLFWLRQ WR FRQVLGHU WKH 0RWLRQ SXUVXDQW WR  86&   DQG  WKDW YHQXH RI WKLV

FKDSWHUFDVH WKH³&KDSWHU&DVH´ DQGWKH0RWLRQLQWKLVGLVWULFWLVSURSHUSXUVXDQWWR

86&DQGWKDWWKLVPDWWHULVDFRUHSURFHHGLQJSXUVXDQWWR86& E WKDW

WKHUHOLHIUHTXHVWHGLQWKH0RWLRQLVLQWKHEHVWLQWHUHVWVRIWKH'LRFHVHLWVHVWDWHFUHGLWRUVDQG

RWKHUSDUWLHVLQLQWHUHVWDQGWKDWSURSHUDQGDGHTXDWHQRWLFHRIWKH0RWLRQKDVEHHQJLYHQDQGQR

RWKHURUIXUWKHUQRWLFHLVQHFHVVDU\RUUHTXLUHGDQGDIWHUGXHGHOLEHUDWLRQZLWKVXIILFLHQWFDXVH

HVWDEOLVKHG

                ,7,6+(5(%<25'(5('7+$7

             7KH0RWLRQLVKHUHE\*5$17('DVVHWIRUWKKHUHLQ

(VWDEOLVKPHQWRI%DU'DWH

             -DQXDU\DW  30 SUHYDLOLQJ(DVWHUQWLPH LV WKHGHDGOLQHIRUDOO

SHUVRQV DQG HQWLWLHV LQFOXGLQJ $EXVH &ODLPDQWV DV WKDW WHUP LV GHILQHG LQ WKH $EXVH &ODLP

6XSSOHPHQW DQGJRYHUQPHQWDOXQLWVWRILOHSUHSHWLWLRQFODLPVLQWKLV&KDSWHU&DVH WKH³%DU

'DWH´ 

$SSURYDORI3URSRVHG)RUPV

             7KH 2IILFLDO )RUP  WKH ³3URRI RI &ODLP )RUP´  $EXVH &ODLP 6XSSOHPHQW

&RQILGHQWLDOLW\$JUHHPHQW%DU'DWH1RWLFHDQG3XEOLFDWLRQ1RWLFHLQWKHIRUPVDQQH[HGKHUHWR

DVSchedules 1 2 3 4 DQG 5UHVSHFWLYHO\DUHKHUHE\DSSURYHG

:KR0XVW)LOH3URRIVRI&ODLP

             ([FHSW DV SURYLGHG LQ SDUDJUDSK  RI WKLV 2UGHU DQ\ SHUVRQ RUHQWLW\ KROGLQJ D

SUHSHWLWLRQFODLPDJDLQVWWKH'LRFHVHPXVWILOHDSURRIRIFODLPLQDFFRUGDQFHZLWKWKHSURFHGXUHV

GHVFULEHGKHUHLQE\WKHDSSOLFDEOH%DU'DWH7KH%DU'DWHDSSOLHVWRDOOSHUVRQVDQGHQWLWLHVWKDW


                                                      

'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 20 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


DVVHUWFODLPV DVGHILQHGLQVHFWLRQ  RIWKH%DQNUXSWF\&RGH DJDLQVWWKH'LRFHVH ZKHWKHU

VHFXUHGXQVHFXUHGSULRULW\RUXQVHFXUHGQRQSULRULW\ WKDWDURVHSULRUWRRURQWKH3HWLWLRQ'DWH

LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DOO $EXVH &ODLPV DV VXFK WHUP LV GHILQHG LQ WKH $EXVH &ODLP

6XSSOHPHQW 

             $Q\SHUVRQRUHQWLW\ZKRLVUHTXLUHGWRILOHDSURRIRIFODLPSXUVXDQWWRWKLV2UGHU

EXWIDLOVWRGRVRRQRUEHIRUHWKHDSSOLFDEOH%DU'DWHVHWIRUWKKHUHLQ L PD\QRWEHWUHDWHGDVD

FUHGLWRUZLWKUHVSHFWWRVXFK&ODLPDQGPD\QRWEHHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWRUWRVKDUH

LQDQ\GLVWULEXWLRQXQGHUDQ\FKDSWHUSODQSURSRVHGDQGRUFRQILUPHGLQWKLV&KDSWHU&DVH

             7KHIROORZLQJSHUVRQVRUHQWLWLHVPXVWILOHDSURRIRIFODLPRQRUEHIRUHWKH

DSSOLFDEOH%DU'DWH

               D        $Q\SHUVRQRUHQWLW\ZKRVHSUHSHWLWLRQFODLPLVQRWOLVWHGRQWKH'LRFHVH¶V
                         6FKHGXOHV RI $VVHWV DQG /LDELOLWLHV ILOHG LQ WKLV &KDSWHU  &DVH WKH
                         ³6FKHGXOHV´ RUDQ\DPHQGPHQWWKHUHWRRUZKRVHSUHSHWLWLRQFODLPLVOLVWHG
                         LQWKH6FKHGXOHVEXWLVGHVLJQDWHGDVEHLQJ³FRQWLQJHQW´³XQOLTXLGDWHG´
                         RU³GLVSXWHG´DQGZKRPD\EHHQWLWOHGWRDQ\GLVWULEXWLRQVWRFUHGLWRUVWKDW
                         PD\EHPDGHLQWKLV&KDSWHU&DVH

               E        $Q\SHUVRQRUHQWLW\ZKREHOLHYHVWKDWLWVSUHSHWLWLRQFODLPLVLPSURSHUO\
                         FODVVLILHGLQWKH6FKHGXOHVRULVOLVWHGLQDQLQFRUUHFWDPRXQWDQGWKDWGHVLUHV
                         WR KDYH LWV FODLP DOORZHG LQ D FODVVLILFDWLRQ RU DPRXQW RWKHU WKDQ DV
                         LGHQWLILHGLQWKH6FKHGXOHVDQG

               F        $Q\ SHUVRQ ZKR ZLVKHV WR DVVHUW DQ $EXVH &ODLP DJDLQVW WKH 'LRFHVH
                         UHJDUGOHVVRIZKHWKHUVXFKSHUVRQKDVSUHYLRXVO\ILOHGDODZVXLWDJDLQVWWKH
                         'LRFHVHRURWKHUZLVHKDVJLYHQIRUPDORULQIRUPDOQRWLFHRIVXFKFODLPVWR
                         WKH'LRFHVHLQFOXGLQJDQ\SHUVRQZKRVHFODLPPD\EHVXEMHFWWRDVWDWXWH
                         RIOLPLWDWLRQV

             7KHIROORZLQJSHUVRQVRUHQWLWLHVDUHQRWUHTXLUHGWRILOHSURRIVRIFODLPDWWKLV

WLPH

                    D   $Q\SHUVRQRUHQWLW\WKDWKDVDOUHDG\SURSHUO\ILOHGDSURRIRIFODLPDJDLQVW
                         WKH'LRFHVHZLWKWKH&OHUNRIWKH&RXUWIRUWKH8QLWHG6WDWHV%DQNUXSWF\
                         &RXUWIRUWKH1RUWKHUQ'LVWULFWRI1HZ<RUN 8WLFD'LYLVLRQexcept that
                         DQ\ SHUVRQ ZKR KDV DVVHUWHG D 6H[XDO $EXVH &ODLP VKRXOG VXEPLW D
                         FRPSOHWHG$EXVH&ODLP6XSSOHPHQW
                                                    

'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 21 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                 E      $Q\ SHUVRQ RU HQWLW\ L  ZKRVH FODLP LV OLVWHG LQ WKH 6FKHGXOHV RU DQ\
                         DPHQGPHQWV WKHUHWR DQG LL  ZKRVH FODLP LV QRW LGHQWLILHG WKHUHLQ DV
                         ³FRQWLQJHQW´³XQOLTXLGDWHG´RU³GLVSXWHG´DQG LLL ZKRGRHVQRWGLVSXWH
                         WKHDPRXQWRUFODVVLILFDWLRQRILWVFODLPDVVHWIRUWKLQWKH6FKHGXOHV

                 F      $Q\SURIHVVLRQDOVUHWDLQHGE\WKH'LRFHVHRUDQ\&RPPLWWHHSXUVXDQWWR
                         RUGHUVRIWKLV&RXUWZKRDVVHUWDGPLQLVWUDWLYHFODLPVIRUSD\PHQWRIIHHV
                         DQG H[SHQVHV VXEMHFW WR WKH &RXUW¶V DSSURYDO SXUVXDQW WR VHFWLRQV 
                          D DQG E RIWKH%DQNUXSWF\&RGH

                 G      $Q\SHUVRQRUHQWLW\WKDWDVVHUWVDQDGPLQLVWUDWLYHH[SHQVHFODLPDJDLQVW
                         WKH 'LRFHVH SXUVXDQW WR VHFWLRQV  E  RU  D   RI WKH %DQNUXSWF\
                         &RGH

                 H      $Q\SHUVRQRUHQWLW\ZKRVHFODLPDJDLQVWWKH'LRFHVHLVDOORZHGE\DQRUGHU
                         RIWKH&RXUWHQWHUHGRQRUEHIRUHWKHDSSOLFDEOH%DU'DWHDQG

                 I      $Q\SHUVRQRUHQWLW\ZKRVHFODLPKDVEHHQSUHYLRXVO\VHWWOHGRUSDLGLQIXOO

3URFHGXUHIRU)LOLQJ3URRIVRI&ODLP

             3URRIVRIFODLPPD\QRWEHILOHGZLWKWKH&RXUWRUZLWKWKH&OHUNRIWKH&RXUW

$OOFODLPDQWVDUHGLUHFWHGWRVXEPLWWKHLUSURRIVRIFODLPWR6WUHWWRWKH'LRFHVH¶V&ODLPVDQG

1RWLFLQJ$JHQWDVVHWIRUWKLQSDUDJUDSKVDQGEHORZ

             ,QRUGHUWREHFRQVLGHUHGYDOLGHDFKSURRIRIFODLPVXEPLWWHGLQWKLV&KDSWHU

&DVHPXVW D FRQIRUPVXEVWDQWLDOO\WR2IILFLDO)RUP E EHGHQRPLQDWHGLQODZIXOFXUUHQF\

RIWKH8QLWHG6WDWHVDVRIWKH3HWLWLRQ'DWH F KDYHDWWDFKHGFRSLHVRIDQ\ZULWLQJVXSRQZKLFK

WKH FODLP LV EDVHG LQ DFFRUGDQFH ZLWK %DQNUXSWF\ 5XOHV  F  DQG  G  LQFOXGLQJ IRU

VHFXUHGFODLPV HYLGHQFHWKDWWKHVHFXULW\LQWHUHVW KDVEHHQSHUIHFWHG XQOHVVVXFKZULWLQJV DUH

YROXPLQRXVRUFRQILGHQWLDOLQZKLFKFDVHDVXPPDU\PXVWEHDWWDFKHGRUDQH[SODQDWLRQSURYLGHG

DVWRZK\VXFKZULWLQJVDUHQRWDYDLODEOHDQGVXFKZULWLQJVZLOOEHSURYLGHGWRWKH'LRFHVHDQGRU

WKH &RPPLWWHH XSRQ UHTXHVW DQG G  EH DFWXDOO\ UHFHLYHG E\ 6WUHWWR WKH 'LRFHVH¶V &ODLP DQG

1RWLFLQJ$JHQWDVRIWKH%DU'DWHHLWKHU L HOHFWURQLFDOO\XVLQJWKHLQWHUIDFHDYDLODEOHRQ6WUHWWR¶V

ZHEVLWHDWKWWSVFDVHVWUHWWRFRPGLRFHVHRIRJGHQVEXUJRU LL E\GHOLYHULQJDQRULJLQDOFRS\E\


                                                     

'2&6B'(
 Case 23-60507-6-pgr           Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                Main Document     Page 22 of 92
                                                         &RPPLWWHH3URSRVHG%DU'DWH2UGHU


KDQGGHOLYHU\ILUVWFODVVPDLORURYHUQLJKWFRXULHUWR7KH5RPDQ&DWKROLF'LRFHVHRI2JGHQVEXUJ

1HZ<RUN&ODLPV3URFHVVLQJFR6WUHWWR([FKDQJH6XLWH,UYLQH&$3URRIVRI

FODLPVHQWE\IDFVLPLOHWHOHFRS\RUHPDLOZLOOQRWEHDFFHSWHG1RWZLWKVWDQGLQJWKHIRUHJRLQJ

LQWKHHYHQWWKDWDFRPSOHWHGSURRIRIFODLPLVPDLOHGWRRUSHUVRQDOO\GHOLYHUHGWRWKH&OHUNRI

&RXUW IRU WKH 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI 1HZ <RUN 8WLFD

'LYLVLRQ WKH &OHUN RI &RXUW VKDOO L  PDUN WKH GRFXPHQW ZLWK D GDWH DQG WLPH RI UHFHLSW LL 

PDLQWDLQDFRS\RIWKHSURRIRIFODLPDQG$EXVH&ODLP6XSSOHPHQWXQGHUVHDOSXUVXDQWWR/RFDO

%DQNUXSWF\5XOHVDQG LLL SODFHWKHSURRIRIFODLPDQGDQ\$EXVH&ODLP6XSSOHPHQWLQDVHDOHG

HQYHORSHPDUNHGFRQILGHQWLDODQGWUDQVPLWWKHVHDOHGHQYHORSHYLDRYHUQLJKWGHOLYHU\WR6WUHWWR

DWWKHDGGUHVVIRUUHFHLSWRISURRIVRIFODLPDERYH

            $OOFODLPDQWVVKDOOVXEPLWWKHLUSURRIVRIFODLPLQVXEVWDQWLDOFRQIRUPDQFHZLWK

2IILFLDO)RUP$Q\SURRIRIFODLPDVVHUWLQJD6H[XDO$EXVH&ODLP HDFKDQ³$EXVH3URRIRI

&ODLP´ VKRXOGEHDFFRPSDQLHGE\DFRPSOHWHG$EXVH&ODLP6XSSOHPHQW:KHUHDQ$EXVH&ODLP

)RUPLV DFFRPSDQLHGE\DQ$EXVH&ODLP6XSSOHPHQWVXFK$EXVH&ODLP6XSSOHPHQWVKDOOEH

WUHDWHGDVDSRUWLRQRIVXFK$EXVH3URRIRI&ODLPIRUSXUSRVHVRIFRQILGHQWLDOLW\DVLVVHWIRUWK

IXUWKHULQSDUDJUDSKRIWKLV2UGHU$FRS\RIWKH$EXVH&ODLP6XSSOHPHQWLVDWWDFKHGKHUHWR

DVSchedule 27KHIDLOXUHWRVXEPLWDFRPSOHWHG$EXVH&ODLP6XSSOHPHQWZLWKDQ\SURRIRI

FODLPDVVHUWLQJDQ$EXVH&ODLPPD\EHWKHEDVLVIRUDYDOLGREMHFWLRQWRVXFKFODLP

            ,IDFODLPDQWVXEPLWVDSURRIRIFODLPWKDWDSSHDUVWRDVVHUWDQ$EXVH&ODLPSULRU

WRWKH%DU'DWHEXWZLWKRXWLQFOXGLQJDFRPSOHWHG$EXVH&ODLP6XSSOHPHQWVXFKFODLPZLOOEH

WUHDWHGDVWLPHO\ILOHGDQGWKH'LRFHVHVKDOOPDNHDZULWWHQUHTXHVWWRVXFKFODLPDQWWRVXEPLWD

FRPSOHWHG$EXVH&ODLP6XSSOHPHQW7KHIDLOXUHWRVXEPLWDQ$EXVH&ODLP6XSSOHPHQWSULRUWR




                                                      

'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 23 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


WKHODWHURI L WKH%DU'DWHRU LL WHQ  EXVLQHVVGD\VIROORZLQJWKHGDWHRIWKH'LRFHVH¶VZULWWHQ

QRWLFHPD\EHJURXQGVWRGLVDOORZDQ$EXVH&ODLP

(VWDEOLVKPHQWRI&RQILGHQWLDOLW\3URWRFRO

            7KHIROORZLQJFRQILGHQWLDOLW\SURWRFRO ³&RQILGHQWLDOLW\3URWRFRO´ VKDOODSSO\WR

DOO$EXVH3URRIVRI&ODLPVXEPLWWHGE\$EXVH&ODLPDQWV

                 D      $OOFODLPDQWVDVVHUWLQJDQ$EXVH&ODLPVKRXOGVXEPLWVXFKFODLPVGLUHFWO\
                         WR 6WUHWWR WKH 'LRFHVH¶V &ODLPV DQG 1RWLFLQJ $JHQW XVLQJ WKH 3URRI RI
                         &ODLP)RUPZLWKDFRPSOHWHG$EXVH&ODLP6XSSOHPHQW$EXVH3URRIVRI
                         &ODLPVKRXOGQRWEHILOHGZLWKWKH&RXUW

                 E      $EXVH 3URRIV RI &ODLP LQFOXGLQJ DQ\ DWWDFKPHQWV WKHUHWR UHFHLYHG E\
                         6WUHWWRZLOOEHWUHDWHGDVFRQILGHQWLDO DQGZLOOEHPDGHDYDLODEOHRQO\WR
                         $XWKRUL]HG 3DUWLHV DV GHILQHG EHORZ  XQOHVV DQ $EXVH &ODLPDQW
                         DIILUPDWLYHO\HOHFWVWRKDYHWKHLU$EXVH3URRIRI&ODLPGLVFORVHGSXEOLFO\
                         $Q\FODLPWKDWDSSHDUVWREHDQ$EXVH&ODLPWKDWLVILOHGZLWKRXWDQ$EXVH
                         &ODLP 6XSSOHPHQW RU DVD*HQHUDO &ODLP VKDOOEHWUHDWHGE\6WUHWWRDVD
                         FRQILGHQWLDO FODLP SHQGLQJ UHVROXWLRQ RI WKH FODLPDQW¶V LQWHQW UHJDUGLQJ
                         FRQILGHQWLDOWUHDWPHQWRIVXFKFODLP7KH&RQILGHQWLDOLW\3URWRFROLVIRUWKH
                         VROHDQGH[FOXVLYHEHQHILWRIWKH$EXVH&ODLPDQWV$FFRUGLQJO\DQ\$EXVH
                         &ODLPDQWPD\HOHFWWRPDNHLQIRUPDWLRQFRQWDLQHGLQKLVRUKHUSHUVRQDO
                         $EXVH&ODLP6XSSOHPHQWSXEOLFHYHQLIKHRUVKHGRHVQRWHOHFWWRKDYHKLV
                         RUKHUSHUVRQDO$EXVH3URRIRI&ODLPGLVFORVHGSXEOLFO\)RUWKHDYRLGDQFH
                         RIGRXEW$EXVH&ODLPDQWVDUHQRWERXQGE\WKHFRQILGHQWLDOLW\SURYLVLRQV
                         RIWKLV2UGHUZLWKUHVSHFWWRGLVFORVXUHVUHJDUGLQJWKHLURZQDEXVHRUDQ\
                         LQIRUPDWLRQGLVFORVHGE\DQ$EXVH&ODLPDQWLQKLVRUKHU$EXVH3URRIRI
                         &ODLP

                 F      $EXVH3URRIVRI&ODLPDQG$EXVH&ODLP6XSSOHPHQWVUHFHLYHGE\6WUHWWR
                         VKDOOEHKHOGDQGWUHDWHGDVFRQILGHQWLDOE\6WUHWWRDQGFRSLHVWKHUHRIVKDOO
                         EHSURYLGHGRUPDGHDYDLODEOHRQO\WRWKHIROORZLQJSDUWLHV WKH³$XWKRUL]HG
                         3DUWLHV´ 

                              L 7KH%LVKRSRIWKH'LRFHVHRIILFHUVRIWKH'LRFHVHDQGVXFKRWKHU
                                  FXUUHQWRUIRUPHUHPSOR\HHVDQGUHSUHVHQWDWLYHVRIWKH'LRFHVHRU
                                  LWVSDULVKHVRURWKHUSHUVRQVZKRDUHQHFHVVDU\WRDVVLVWWKH'LRFHVH
                                  LQ UHYLHZLQJ DQG DQDO\]LQJ WKH $EXVH 3URRIV RI &ODLP DQG LQ
                                  HIIHFWXDWLQJDQGREVHUYLQJWKH'LRFHVH¶VVDIHHQYLURQPHQWSROLFLHV
                                  )RU WKH DYRLGDQFH RI GRXEW DQ\ SHUVRQ WKDW ZDV GLVFORVHG WR WKH
                                  'LRFHVHDVDQLQGLYLGXDOZKRDOOHJHGO\FRPPLWWHGDQDFWRIVH[XDO
                                  DEXVHDVZHOODV DQ\SHUVRQLGHQWLILHGDVDQ DOOHJHG DEXVHULQ DQ
                                  $EXVH 3URRI RI &ODLP VKDOO QRW EH DQ $XWKRUL]HG 3HUVRQ ZLWK
                                  UHVSHFW WR DQ\ $EXVH 3URRI RI &ODLP DQG DQ\ SHUVRQ ZKR LV
                                                     

'2&6B'(
 Case 23-60507-6-pgr            Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                 Main Document     Page 24 of 92
                                                          &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                                  DFNQRZOHGJHGE\WKH'LRFHVHDVVRPHRQHZKRFRPPLWWHGDFWVRI
                                  DEXVHVKDOOQRWEHDQ$XWKRUL]HG3HUVRQZLWKUHVSHFWWRDQ\$EXVH
                                  3URRIRI&ODLPprovided howeverWKDWWKH'LRFHVHLVDXWKRUL]HGWR
                                  GLVFXVV WKH FRQWHQWV RI DQ\ $EXVH 3URRI RI &ODLP ZLWK D SHUVRQ
                                  LGHQWLILHG DV DQ DOOHJHG DEXVHU ZKR ZDV QRW SUHYLRXVO\
                                  DFNQRZOHGJHGE\WKH'LRFHVHDVDQLQGLYLGXDOZKRKDGFRPPLWWHG
                                  DQ DFW RI DEXVH IRU WKH SXUSRVH RI FRQGXFWLQJ DQ LQWHUQDO
                                  LQYHVWLJDWLRQ DQG DVVHVVLQJ WKH DFWXDO FODLP E\ SURYLGLQJ DQ\
                                  DIIHFWHG 6H[XDO $EXVH &ODLPDQW VXFK DIIHFWHG 6H[XDO $EXVH
                                  &ODLPDQW¶V FRXQVHO LI DQ\  DQG FRXQVHO WR WKH &RPPLWWHH ZLWK
                                  QRWLFHGHOLYHUHGYLDRYHUQLJKWGHOLYHU\DQGHPDLORIVXFKSODQQHG
                                  GLVFORVXUH D³'LVFORVXUH1RWLFH´ DQGDQRSSRUWXQLW\WRREMHFWWR
                                  VXFKGLVFORVXUH,IWKH'LRFHVHUHFHLYHVDZULWWHQREMHFWLRQWRVXFK
                                  GLVFORVXUH DQ³2EMHFWLRQ1RWLFH´ RQRUEHIRUHSP (DVWHUQ RQ
                                  WKHILIWK WK EXVLQHVVGD\IROORZLQJLWVUHFHLSWRIWKH'LVFORVXUH
                                  1RWLFH WKH³2EMHFWLRQ'HDGOLQH´  D WKH'LRFHVHPD\QRWPDNH
                                  WKHGLVFORVXUHVHWIRUWKLQWKH'LVFORVXUH1RWLFHXQWLOVXFKWLPHDV
                                  WKH&RXUWSHUPLWVVXFKGLVFORVXUHRUWKH&RPPLWWHHFRQVHQWVWRVXFK
                                  GLVFORVXUHDQG E WKH'LRFHVHPD\PDNHDQDSSOLFDWLRQWRWKH&RXUW
                                  RQQROHVVWKDQILYH  EXVLQHVVGD\V¶QRWLFH RUVXFKRWKHUWLPHDV
                                  WKH&RXUWPD\DOORZ VHHNLQJDXWKRUL]DWLRQWRPDNHVXFKGLVFORVXUH
                                  RYHU WKH &RPPLWWHH¶V REMHFWLRQ ,Q WKH HYHQW WKDW QR 2EMHFWLRQ
                                  1RWLFHLVUHFHLYHGSULRUWRWKH2EMHFWLRQ'HDGOLQHWKH'LRFHVHPD\
                                  PDNHWKHGLVFORVXUHVHWIRUWKLQWKH'LVFORVXUH1RWLFH

                              LL &RXQVHO WR WKH 'LRFHVH WKH &RPPLWWHH RU DQ\ RWKHU RIILFLDO
                                   FRPPLWWHHUHWDLQHGSXUVXDQWWRDQRUGHURIWKH%DQNUXSWF\&RXUW
                                   LQFOXGLQJ SDUWQHUV FRXQVHO DVVRFLDWHV DQG HPSOR\HHV RI VXFK
                                   FRXQVHO

                              LLL 0HPEHUVRIDQ\&RPPLWWHHDQGWKHLULQGLYLGXDOFRXQVHO DIWHUWKH
                                    $EXVH3URRIRI&ODLPKDVEHHQUHGDFWHGWRUHPRYH D WKHFODLPDQW¶V
                                    QDPHDGGUHVVDQGRWKHULQIRUPDWLRQLGHQWLILHGLQ3DUWVDQG D 
                                    RIWKH$EXVH&ODLP6XSSOHPHQWWKHVLJQDWXUHEORFNDQGDQ\RWKHU
                                    LQIRUPDWLRQZKLFKFRXOGUHDVRQDEO\EHXVHGWRSHUVRQDOO\LGHQWLI\
                                    DQ$EXVH&ODLPDQW DQG E WKHSHUVRQDOO\LGHQWLI\LQJLQIRUPDWLRQ
                                    RIDQ\RWKHUSHUVRQLGHQWLILHGDVVRPHRQHZKRZDVWKHVXEMHFWRI
                                    DEXVH

                              LY $Q\,QVXUHUWKDWSURYLGHGLQVXUDQFHRUUHLQVXUDQFHWKDWPD\FRYHU
                                   WKH FODLPV GHVFULEHG LQ DQ\ $EXVH 3URRI RI &ODLP WRJHWKHU ZLWK
                                   WKHLU UHVSHFWLYH VXFFHVVRUV UHLQVXUHUV DQG FRXQVHO SURYLGHG
                                   KRZHYHUWKDWDIILOLDWHVRIDQ\ ,QVXUHUDQGDQ\RIILFHUHPSOR\HH
                                   DJHQW RU UHSUHVHQWDWLYH RI VXFK ,QVXUHU WKDW GLG QRW SURYLGH
                                   LQVXUDQFHRUUHLQVXUDQFHWRWKH'LRFHVHVKDOOQRWEHDQ$XWKRUL]HG
                                   3HUVRQVXEMHFWWRIXUWKHURUGHURIWKH&RXUW


                                                      

'2&6B'(
 Case 23-60507-6-pgr            Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                 Main Document     Page 25 of 92
                                                          &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                               Y $Q\SHUVRQDSSRLQWHGSXUVXDQWWRDQRUGHURIWKH%DQNUXSWF\&RXUW
                                   WR VHUYH DV D PHGLDWRU DV D UHSUHVHQWDWLYH IRU XQNQRZQ RU IXWXUH
                                   FODLPDQWV RU DV D VSHFLDO DUELWUDWRUFODLPV UHYLHZHU DSSRLQWHG WR
                                   UHYLHZDQGUHVROYH$EXVH&ODLPVLQWKLV&KDSWHU&DVHRUDQ\
                                   DGYHUVDU\SURFHHGLQJILOHGLQWKLV&KDSWHU&DVH

                              YL $Q\ WUXVWHH RU IXQFWLRQDO HTXLYDOHQW WKHUHRI DSSRLQWHG WR
                                   DGPLQLVWHU SD\PHQWV WR $EXVH &ODLPDQWV LQFOXGLQJ SXUVXDQW WR D
                                   SODQRIUHRUJDQL]DWLRQRUDSURSRVHGSODQRIUHRUJDQL]DWLRQ

                              YLL $Q\SHUVRQZLWKWKHH[SUHVVZULWWHQFRQVHQWRIWKH'LRFHVHDQGWKH
                                    &RPPLWWHHXSRQGD\V¶QRWLFHRUVXFKRWKHUWLPHDVWKH&RXUW
                                    PD\DOORZWRWKHDIIHFWHG$EXVH&ODLPDQW V 

                          YLLL 6XFKRWKHUSHUVRQVDVWKH&RXUWPD\DXWKRUL]HWRDFFHVVRQHRUPRUH
                                 RI WKH $EXVH 3URRIV RI &ODLP SXUVXDQW WR VXEVHTXHQW RUGHU
                                 providedhoweverWKDWDQ\VXFKGHWHUPLQDWLRQVKDOOEHPDGHRQQR
                                 OHVVWKDQVHYHQ  GD\V¶QRWLFHWRWKHDIIHFWHG$EXVH&ODLPDQW V 
                                 WKH&RPPLWWHHDQGWKH'LRFHVHDQG

                              L[ &RXQVHO RI UHFRUG WR DQ\ $XWKRUL]HG 3DUW\ XSRQ H[HFXWLRQ RI D
                                   &RQILGHQWLDOLW\$JUHHPHQWE\VXFKFRXQVHO

                 G      1RWZLWKVWDQGLQJWKHGHVLJQDWLRQRI$XWKRUL]HG3DUWLHVDERYHQRSHUVRQRU
                         HQWLW\PD\REWDLQFRSLHVRIDQ\$EXVH3URRIRI&ODLPSULRUWRWKHH[HFXWLRQ
                         RIDFRQILGHQWLDOLW\DJUHHPHQWVXEVWDQWLDOO\LQWKHIRUPDWWDFKHGKHUHWRDV
                         Schedule 3 WKH ³&RQILGHQWLDOLW\ $JUHHPHQW´  SURYLGHG KRZHYHU WKDW D
                         PHGLDWRU DSSRLQWHG LQ WKH FDVH VKDOO QRW EH UHTXLUHG WR H[HFXWH D
                         FRQILGHQWLDOLW\DJUHHPHQWLIVXFKPHGLDWRULVFXUUHQWO\D%DQNUXSWF\-XGJH
                         0DJLVWUDWH -XGJH RU 'LVWULFW &RXUW -XGJH  &RXQVHO RI UHFRUG WR DQ\
                         $XWKRUL]HG3DUW\VKDOORQO\EHUHTXLUHGWRH[HFXWHDVLQJOH&RQILGHQWLDOLW\
                         $JUHHPHQWZKLFKVKDOOEHGHHPHGELQGLQJRQWKHLUHQWLUHILUP$FFHVVWR
                         WKH$EXVH3URRIVRI&ODLPIRUDOORWKHU$XWKRUL]HG3DUWLHVVKDOOEHUHVWULFWHG
                         WR WKH QDWXUDO SHUVRQ ZKR H[HFXWHV D &RQILGHQWLDOLW\ $JUHHPHQW DQG D
                         VHSDUDWH&RQILGHQWLDOLW\$JUHHPHQWPXVWEHVLJQHGE\HDFKQDWXUDOSHUVRQ
                         VHHNLQJ DFFHVV WR WKH $EXVH3URRIVRI&ODLP RQEHKDOIRIDQ$XWKRUL]HG
                         3DUW\&RSLHVRIDOO&RQILGHQWLDOLW\$JUHHPHQWVVKDOOEHSURYLGHGWRWKH
                         'LRFHVHDQGWKH&RPPLWWHHWKURXJKWKHLUUHVSHFWLYHFRXQVHO

                 H      $XWKRUL]HG3DUWLHVLQSRVVHVVLRQRIDQ\$EXVH3URRI V RI&ODLPVKDOONHHS
                         VXFK$EXVH3URRI V RI&ODLPFRQILGHQWLDODQGVKDOOQRWXVHRUGLVFORVHDQ\
                         LQIRUPDWLRQSURYLGHGLQDQ\$EXVH3URRI V RI&ODLPH[FHSWLQDFFRUGDQFH
                         ZLWKWKHWHUPVRIWKLV2UGHUWKH&RQILGHQWLDOLW\$JUHHPHQWRUSXUVXDQWWR
                         DQRUGHURIWKLV&RXUWXQOHVVWKH$EXVH&ODLPDQWKDVHOHFWHGWRPDNHKLV
                         RUKHU$EXVH3URRIRI&ODLPSXEOLFE\LQGLFDWLQJVXFKFRQVHQWLQ3DUWRI
                         WKH$EXVH&ODLP6XSSOHPHQW


                                                       

'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 26 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                 I      6WUHWWR VKDOO DVVLJQ WR HDFK FODLPDQW DVVHUWLQJ DQ $EXVH &ODLP D XQLTXH
                         LGHQWLILHUFRGHDQGVKDOOPDLQWDLQDFRQILGHQWLDOOLVWRIWKHLGHQWLWLHVRIWKH
                         $EXVH&ODLPDQWVWKHLUFRUUHVSRQGLQJLGHQWLILHUFRGHDQGWKHLUUHVSHFWLYH
                         $EXVH3URRI V RI&ODLPDQGRU$EXVH&ODLP6XSSOHPHQW7KHFRQILGHQWLDO
                         OLVW RI WKH LGHQWLWLHV RI $EXVH &ODLPDQWV VKDOO EH SURYLGHG RQO\ WR VXFK
                         SDUWLHV WKDW DUH $XWKRUL]HG 3DUWLHV HQWLWOHG WR WKH SHUVRQDOO\ LGHQWLI\LQJ
                         LQIRUPDWLRQRI$EXVH&ODLPDQWVSXUVXDQWWRWKLV2UGHU

1RWLFHRI%DU'DWH

            :LWKLQWHQ  EXVLQHVVGD\VIROORZLQJHQWU\RIWKLV2UGHUWKH'LRFHVHVKDOOVHUYH

E\8QLWHG6WDWHVPDLOILUVWFODVVSRVWDJHSUHSDLG L WKH%DU'DWH1RWLFHDQG LL DFRS\RIWKH

3URRIRI&ODLP)RUP WRJHWKHUZLWKWKH%DU'DWH1RWLFHWKH³*HQHUDO&ODLP1RWLFH3DFNDJH´ 

XSRQ D WKH2IILFHRIWKH8QLWHG6WDWHV7UXVWHH E DOOSDUWLHVWKDWKDYHILOHGDQRWLFHRIDSSHDUDQFH

LQWKH'LRFHVH¶V&KDSWHU&DVH F DOOFUHGLWRUVOLVWHGLQWKH'LRFHVH¶V6FKHGXOHV H[FHSWWKRVH

FUHGLWRUVOLVWHGRQWKHSRUWLRQVRI6FKHGXOH)ILOHGXQGHUVHDOUHODWLQJWR$EXVH&ODLPDQWV  G DOO

SDUWLHVWRH[HFXWRU\FRQWUDFWVDQGXQH[SLUHGOHDVHVRIWKH'LRFHVH H DOOSHUVRQVRUHQWLWLHVWKDW

KDYHSUHYLRXVO\ILOHGSURRIVRIFODLPLQWKH'LRFHVH¶V&KDSWHU&DVHDQG I VXFKDGGLWLRQDO

SHUVRQVDQGHQWLWLHVDVWKH'LRFHVHPD\GHHPDSSURSULDWHRUDGYLVDEOH

            :LWKLQWHQ  EXVLQHVVGD\VIROORZLQJHQWU\RIWKLV2UGHUWKH'LRFHVHVKDOOVHUYH

E\8QLWHG6WDWHVPDLOILUVWFODVVSRVWDJHSUHSDLG L WKH%DU'DWH1RWLFH LL DFRS\RIWKLV2UGHU

ZLWKRXW H[KLELWV RUVFKHGXOHV DQG LLL D FRS\ RIWKH3URRIRI&ODLP )RUPDQG $EXVH&ODLP

6XSSOHPHQW WRJHWKHUZLWK WKH%DU'DWH1RWLFHDQG%DU'DWH2UGHUWKH ³$EXVH&ODLP 1RWLFH

3DFNDJH´  XSRQ HDFK SHUVRQ RU WKHLU UHVSHFWLYH FRXQVHO ZKR LV OLVWHG RQ WKDW SRUWLRQ RI WKH

'LRFHVH¶V6FKHGXOH)ILOHGXQGHUVHDO7KH'LRFHVHVKDOOQRWEHUHTXLUHGWRVHQGDQ$EXVH&ODLP

1RWLFH 3DFNDJH WR DQ\ SHUVRQ ZKR KDV SUHYLRXVO\ HQWHUHG LQWR D VHWWOHPHQW ZLWK WKH 'LRFHVH

UHJDUGLQJDQ$EXVH&ODLPLIWKH'LRFHVHKDVSHUIRUPHGDOORILWVPRQHWDU\REOLJDWLRQVXQGHUWKH

WHUPVRIVXFKVHWWOHPHQW



                                                      

'2&6B'(
 Case 23-60507-6-pgr              Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                   Main Document     Page 27 of 92
                                                            &RPPLWWHH3URSRVHG%DU'DWH2UGHU


             ,QDGGLWLRQWRSURYLGLQJGLUHFWQRWLFHWRNQRZQFUHGLWRUVDVVHWIRUWKDERYHVXEMHFW

WRDSSOLFDEOHSXEOLFDWLRQJXLGHOLQHVDQGVXEPLVVLRQGHDGOLQHVWKH'LRFHVHVKDOOFDXVHDQRWLFHLQ

VXEVWDQWLDOO\WKHIRUPDWWDFKHGKHUHWRDVSchedule 5 WKH³3XEOLFDWLRQ1RWLFH´ WREHSXEOLVKHGDV

IROORZV

               D           2QFHQRODWHUWKDQWZHQW\RQH  GD\VDIWHUWKHHQWU\RIWKLV2UGHULQ
                             USA TodayDQG
                             
               E           7ZLFHZLWK WKHILUVW SXEOLFDWLRQQRODWHUWKDQ WZHQW\RQH  GD\V DIWHU
                             HQWU\RIWKLV2UGHUDQGWKHVHFRQGSXEOLFDWLRQQRODWHUWKDQIRXUWHHQ  
                             GD\V SULRUWR WKH%DU 'DWHLQ The Post Standard, The Times UnionThe
                             Watertown Daily TimesWKHPlattsburgh Press-RepublicanNorth Country
                             This WeekDQGWKHNorth Country Catholic. 

             ,QDGGLWLRQWRWKHIRUHJRLQJSXEOLFDWLRQWKH'LRFHVHVKDOOXVHUHDVRQDEOHHIIRUWVWR

WDNHWKHIROORZLQJDGGLWLRQDOPHDVXUHVWRGLVVHPLQDWHLQIRUPDWLRQUHODWLQJWRWKH%DU'DWHDVVRRQ

DVSUDFWLFDEOHIROORZLQJHQWU\RIWKLV2UGHU

                       L   %HJLQQLQJQRODWHUWKDQILYH  EXVLQHVVGD\VDIWHUHQWU\RIWKH%DU'DWH
                             2UGHU DQG DW OHDVW WKURXJK WKH *HQHUDO %DU 'DWH WKH 'LRFHVH ZLOO FDXVH
                             SURPLQHQW RQHFOLFN OLQNV WR WKH *HQHUDO &ODLP 1RWLFH 3DFNDJH DQG WKH
                             $EXVH&ODLP1RWLFH3DFNDJHWREHSRVWHGRQWKHFDVHPDQDJHPHQWZHEVLWH
                             PDLQWDLQHGE\6WUHWWR

                     LL    7KH'LRFHVHZLOOHVWDEOLVKDQGPDLQWDLQRUFDXVH6WUHWWRWRHVWDEOLVKDQG
                             PDLQWDLQ D WHOHSKRQH QXPEHU ZKLFK PD\ EH XVHG E\ FODLPDQWV WR DVN
                             TXHVWLRQV RU WR UHTXHVW FRSLHV RI WKH *HQHUDO &ODLP 1RWLFH 3DFNDJH WKH
                             $EXVH&ODLP1RWLFH3DFNDJHRUSDUWVWKHUHRI

                     LLL   %HJLQQLQJZLWKLQWHQ  EXVLQHVVGD\VRIWKHHQWU\RIWKLV2UGHUDQGDW
                             OHDVW WKURXJK WKH *HQHUDO %DU 'DWH WKH 'LRFHVH ZLOO FDXVH OLQNV WR WKH
                             *HQHUDO&ODLP1RWLFH3DFNDJHDQGWKH$EXVH&ODLPV1RWLFH3DFNDJHWREH
                             SRVWHGRQWKH'LRFHVH¶VZHEVLWHKRPHSDJH

                     LY    :LWKLQWHQ  EXVLQHVVGD\VRIHQWU\RIWKLV2UGHUWKH'LRFHVHZLOOLVVXH
                             DSUHVVUHOHDVHUHJDUGLQJWKH%DU'DWHDQGLQFOXGLQJWKH%DU'DWH1RWLFHWR
                             WKH QHZV GHSDUWPHQWV RI The Post Standard, The Times Union The
                             Watertown Daily Times WKH Plattsburgh Press-Republican DQG North
                             Country This Week. 

                      Y    7KH'LRFHVHZLOOSURYLGHDFRS\RIWKH3XEOLFDWLRQ1RWLFHWRHDFKSDULVK
                             DQG PLQLVWU\ H[FHSW SULPDU\ DQG VHFRQGDU\ VFKRROV  RYHUVHHQ E\ WKH

                                                         

'2&6B'(
 Case 23-60507-6-pgr            Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                 Main Document     Page 28 of 92
                                                          &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                          %LVKRSRIWKH'LRFHVHZLWKDUHTXHVWWRGLVSOD\WKH3XEOLFDWLRQ1RWLFHLQD
                          SURPLQHQWSODFHXQWLOWKH*HQHUDO%DU'DWH

              7KH &RXUW ILQGV WKDW WKH IRUP DQG PDQQHU RI JLYLQJ QRWLFH RI WKH %DU 'DWH DV

DSSURYHG KHUHLQ IXOILOOV WKH QRWLFH UHTXLUHPHQWV RI WKH %DQNUXSWF\ 5XOHV DQG LV UHDVRQDEO\

FDOFXODWHGXQGHUWKHFLUFXPVWDQFHVWRDSSULVHERWKNQRZQDQGSRWHQWLDOXQNQRZQFUHGLWRUVRIWKH

HVWDEOLVKPHQWRIWKH%DU'DWHDQGWKHQHHGWRILOHDSURRIRIFODLPFRQVLVWHQWZLWKWKHGXHSURFHVV

ULJKWVRIDOOSDUWLHVXQGHUWKHVWDQGDUGVHVWDEOLVKHGLQMullane v. Central Hanover Bank & Trust

Co.  86    DQG Hecht v. United Collection Bureau, Inc.  )G  G &LU

 $FFRUGLQJO\WKH'LRFHVHLVDXWKRUL]HGDQGGLUHFWHGWRVHUYHDQGRUSXEOLVKQRWLFHRIWKH

%DU'DWHLQWKHPDQQHUGHVFULEHGKHUHLQ

              1RWKLQJFRQWDLQHGLQWKLV2UGHULVLQWHQGHGRUVKRXOGEHFRQVWUXHGDVDILQGLQJDV

WRWKHYDOLGLW\RIDQ\FODLPDJDLQVWWKH'LRFHVHDQGDOOSDUWLHVUHWDLQDOOULJKWVWRGLVSXWHDQ\FODLP

RQDQ\JURXQGV$OOSDUWLHVUHWDLQWKHULJKWWRGLVSXWHRUWRDVVHUWRIIVHWVRUGHIHQVHVWRDQ\FODLP

ZKHWKHURUQRW UHIOHFWHGRQWKH6FKHGXOHVRUDQ\ DPHQGPHQWVWKHUHWR  DVWR DPRXQWOLDELOLW\

FODVVLILFDWLRQRURWKHUZLVHDQGWRVXEVHTXHQWO\GHVLJQDWHDQ\FODLPDVFRQWLQJHQWXQOLTXLGDWHG

RUGLVSXWHG

              ,QWKHHYHQWWKDWDQREMHFWLRQLVILOHGWRD6H[XDO$EXVH3URRIRI&ODLPWKH$EXVH

&ODLPDQWVKDOOKDYHWKHULJKW WR FRQGXFW GLVFRYHU\ FRQFHUQLQJWKHEDVLVRIWKH REMHFWLRQWRWKH

6H[XDO$EXVH3URRIRI&ODLP

              7KH &RXUW UHWDLQV MXULVGLFWLRQ WR KHDU DQG GHWHUPLQH DOO PDWWHUV DULVLQJ IURP RU

UHODWHGWRWKHLPSOHPHQWDWLRQLQWHUSUHWDWLRQDQGRUHQIRUFHPHQWRIWKLV2UGHU

                                                    




                                                      

'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 29 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                                           6FKHGXOH

                                       7R%DU'DWH2UGHU 

                                       2IILFLDO)RUP

                                                





'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 30 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                                           6FKHGXOH

                                       7R%DU'DWH2UGHU 

                                )RUPRI$EXVH&ODLP6XSSOHPHQW





'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 31 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


81,7('67$7(6%$1.5837&<&2857                                                    
1257+(51',675,&72)1(:<25.
                                                            
 ,QUH                                                     
                                                            &DVH1R 3*5 
 7KH5RPDQ&DWKROLF'LRFHVHRI                              
 2JGHQVEXUJ1HZ<RUN                                      &KDSWHU
                                                            
 'HEWRU                
                                                     
                                           
                       &21),'(17,$/$%86(&/$,06833/(0(17

        7+,6)2500867%(RECEIVED12/$7(57+$1-$18$5<
          $730 35(9$,/,1*($67(517,0(  7+(³%$5'$7(´ 
                                       

        :KHQVXEPLWWLQJ\RXU$EXVH3URRIRI&ODLPLQWKLVFDVHWKH&RXUWVWURQJO\
        HQFRXUDJHV\RXWRFRPSOHWHWKLVVXSSOHPHQWDOIRUPZKLFKWKH&RXUWKDV
        DSSURYHGDQGLQFOXGHLWDVDQDWWDFKPHQWWR\RXU$EXVH3URRIRI&ODLP
        6XEPLWWLQJWKLVVXSSOHPHQWDOIRUPDWWKHRXWVHWZLOOKHOSVWUHDPOLQHWKH
        SURFHVVRILGHQWLI\LQJFODLPVDQGDOODSSOLFDEOHLQVXUDQFHFRYHUDJHDQG
        H[SHGLWHDGLVWULEXWLRQWRFUHGLWRUV



&DUHIXOO\UHDGWKHLQVWUXFWLRQVWKDWDUHLQFOXGHGZLWKWKLV&21),'(17,$/$%86(&/$,0
6833/(0(17DQGFRPSOHWHDOODSSOLFDEOHTXHVWLRQV

)RU SXUSRVHV RI WKLV $EXVH &ODLP 6XSSOHPHQW DQ ³$EXVH &ODLP´ LV DQ\ FODLP DV GHILQHG LQ
VHFWLRQ  RIWKH%DQNUXSWF\&RGH DJDLQVW7KH5RPDQ&DWKROLF'LRFHVHRI2JGHQVEXUJ1HZ
<RUN WKH³'LRFHVH´ UHVXOWLQJRUDULVLQJLQZKROHRULQSDUWGLUHFWO\RULQGLUHFWO\IURPDQ\DFWXDO
RU DOOHJHG VH[XDO FRQGXFW RU PLVFRQGXFW VH[XDO DEXVH RU PROHVWDWLRQ LQGHFHQW DVVDXOW DQGRU
EDWWHU\ UDSH SHGRSKLOLD HSKHERSKLOLD RU VH[XDOO\UHODWHG SK\VLFDO VH[XDOO\UHODWHG
SV\FKRORJLFDORUVH[XDOO\UHODWHGHPRWLRQDOKDUPRUFRQWDFWVRULQWHUDFWLRQVRIDVH[XDOQDWXUH
EHWZHHQDFKLOGDQGDQDGXOWRUDQRQFRQVHQWLQJDGXOWDQGDQRWKHUDGXOWVH[XDODVVDXOWVH[XDO
EDWWHU\ VH[XDO SV\FKRORJLFDO RU HPRWLRQDO DEXVH KXPLOLDWLRQ RU LQWLPLGDWLRQ RU DQ\ RWKHU
FRQGXFWFRQVWLWXWLQJDVH[XDORIIHQVHLQFHVWRUXVHRIDFKLOGLQDVH[XDOSHUIRUPDQFH DVVXFK
WHUPVDUHGHILQHGLQWKH1HZ<RUN3HQDO/DZ DQGVHHNLQJPRQHWDU\GDPDJHVRUDQ\RWKHUUHOLHI
XQGHU DQ\ WKHRU\ RI OLDELOLW\ LQFOXGLQJ YLFDULRXV OLDELOLW\ DQ\ QHJOLJHQFHEDVHG WKHRU\
FRQWULEXWLRQLQGHPQLW\RUDQ\RWKHUWKHRU\EDVHGRQDQ\DFWVRUIDLOXUHVWRDFWE\WKH'LRFHVHRU
DQ\ RWKHU SHUVRQ RU HQWLW\ IRU ZKRVH DFWV RU IDLOXUHV WR DFW WKH 'LRFHVH LV RU ZDV DOOHJHGO\
UHVSRQVLEOH$Q³$EXVH&ODLPDQW´LVWKHSHUVRQDVVHUWLQJDQ$EXVH&ODLPDJDLQVWWKH'LRFHVH,I
WKH $EXVH &ODLPDQW LV D PLQRU D SDUHQW RU OHJDO JXDUGLDQ PD\ FRPSOHWH WKLV $EXVH &ODLP
6XSSOHPHQWRQWKHPLQRU¶VEHKDOI,IWKH$EXVH&ODLPDQWLVGHFHDVHGRULQFDSDFLWDWHGWKH$EXVH




'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 32 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


&ODLPDQW¶V OHJDO UHSUHVHQWDWLYH RU H[HFXWRU RI WKH GHFHGHQW¶V HVWDWH PD\ FRPSOHWH WKLV $EXVH
&ODLP6XSSOHPHQWRQWKHLUEHKDOI

        7+,6$%86(&/$,06833/(0(17,6)25$%86(&/$,0621/<
72%(9$/,'7+,6$%86(&/$,06833/(0(170867

         $     3URYLGHUHVSRQVHVWKDWDUHFRPSOHWHDQGDFFXUDWHWRWKHEHVWRI\RXUNQRZOHGJH

         %     %HVLJQHGE\WKH$EXVH&ODLPDQWRUWKHLUFRXQVHORIUHFRUGH[FHSWWKDWLIWKH$EXVH
                &ODLPDQWLVDPLQRULQFDSDFLWDWHGRUGHFHDVHGWKLV$EXVH&ODLP6XSSOHPHQWPD\
                EH VLJQHG E\ WKH $EXVH &ODLPDQW¶V SDUHQW OHJDO JXDUGLDQ RU H[HFXWRU DV
                DSSOLFDEOHDQG

         &     %HDFWXDOO\UHFHLYHGE\6WUHWWRWKH'LRFHVH¶VFODLPVDQGQRWLFLQJDJHQWRQRUSULRU
                WRWKH%DU'DWHHLWKHU

                 L      HOHFWURQLFDOO\XVLQJWKHLQWHUIDFHDYDLODEOHDW
                         KWWSVFDVHVWUHWWRFRPGLRFHVHRIRJGHQVEXUJRU

                 LL    YLDKDQGGHOLYHU\860DLORURYHUQLJKWFRXULHUWR7KH5RPDQ&DWKROLF
                         'LRFHVH RI 2JGHQVEXUJ 1HZ <RUN &ODLPV 3URFHVVLQJ FR 6WUHWWR 
                         ([FKDQJH6XLWH,UYLQH&$

$%86( &/$,0 6833/(0(176 6(17 %< )$&6,0,/( 7(/(&23< 25 (0$,/
:,//127%($&&(37('

<280$<:,6+72&2168/7$1$77251(<5(*$5',1*7+,60$77(5

)$,/85(72&203/(7($1'5(78517+,6)250,1$7,0(/<0$11(50$<
5(68/7,1<285,1$%,/,7<72927(21$3/$12)5(25*$1,=$7,21$1'
,1(/,*,%,/,7< 72 5(&(,9( $ ',675,%87,21 ,1 7+( $%29(&$37,21('
&+$37(5&$6(

7+,6 $%86( &/$,0 6833/(0(17 ,6 127 68)),&,(17 72 $66(57 $1 $%86(
&/$,0$*$,167$1<(17,7<27+(57+$17+(',2&(6(

$16:(5 7+(6( 48(67,216 72 7+( %(67 2) <285 .12:/('*( $1'
$%,/,7<$77+(7,0(<28&203/(7(7+,6)250

  
  $ 3(5621 :+2 ),/(6 $ )5$8'8/(17 &/$,0 &28/' %( ),1(' 83 72
  ,035,621(')258372<($5625%27+86&DQG
  
  
                       





'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 33 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


3$57&21),'(17,$/,7<

8QOHVVWKH$EXVH&ODLPDQWLQGLFDWHVEHORZWKDWWKH$EXVH&ODLPDQWZDQWVWKLVGRFXPHQWWREH
SDUWRIWKHSXEOLFUHFRUGWKH$EXVH&ODLPDQW¶VLGHQWLW\ZLOOEHNHSWVWULFWO\FRQILGHQWLDOXQGHU
VHDODQGRXWVLGHWKHSXEOLFUHFRUGSXUVXDQWWRDQ2UGHURIWKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRU
WKH 1RUWKHUQ 'LVWULFW RI 1HZ <RUN WKH ³%DQNUXSWF\ &RXUW´   +RZHYHU WKLV $EXVH &ODLP
6XSSOHPHQW DQG \RXU 3URRI RI &ODLP )RUP PD\ EH SURYLGHG SXUVXDQW WR FRQILGHQWLDOLW\
SURFHGXUHVDSSURYHGE\WKH%DQNUXSWF\&RXUWWRWKH'LRFHVHFHUWDLQLQVXUHUVRIWKH'LRFHVHWKH
2IILFLDO &RPPLWWHH RI 8QVHFXUHG &UHGLWRUV WKH ³&RPPLWWHH´  WKHLU UHVSHFWLYH FRXQVHO WKH
8QLWHG6WDWHV7UXVWHHDQGVXFKRWKHUSHUVRQVDVWKH%DQNUXSWF\&RXUWPD\DXWKRUL]H

21/<7+($%86(&/$,0$170$<:$,9(7+(&21),'(17,$/,7<2) 7+(,5
,1)250$7,213529,'('+(5(,1

                                                   
                                3OHDVHVHOHFWRQO\RQHRSWLRQEHORZ
                                                   
                                                    
  տ  , ZLVK WR NHHS P\ LGHQWLW\ DQG DOO տ  , DXWKRUL]H P\ QDPH LGHQWLW\ DQG WKLV
  LQIRUPDWLRQKHUHLQ&21),'(17,$/                 $EXVH &ODLP 6XSSOHPHQW WRJHWKHU ZLWK DQ\
                                                    H[KLELWV DQG DWWDFKPHQWV  WR EH PDGH
                                                    38%/,&/< $9$,/$%/( $1' 3$57 2)
                                                    7+(38%/,&5(&25'
                                                     
  
  6LJQDWXUH
  
  
  3ULQW1DPH
  

,)<28'2127&+(&.(,7+(5%2;,)<28&+(&.%27+%2;(625,)<28
'2 127 3529,'( <285 1$0( $1' 6,*1$785( $%29( <285 &/$,0 :,//
5(0$,1&21),'(17,$/




                              





'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 34 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


3$57,'(17,)<,1*,1)250$7,21

    D     $EXVH&ODLPDQW

BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
)LUVW1DPH                    0LGGOH,QLWLDO               /DVW1DPH              6XIIL[ LIDQ\ 


BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
0DLOLQJ$GGUHVV ,ISDUW\LVLQFDSDFLWDWHGLVDPLQRURULVGHFHDVHGSOHDVHSURYLGHWKHDGGUHVV
RIWKHOHJDOUHSUHVHQWDWLYHVXEPLWWLQJWKHFODLP,I\RXDUHLQMDLORUSULVRQ\RXUFXUUHQWDGGUHVV 

BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
&LW\                                   6WDWH3URY          =LS&RGH 3RVWDO&RGH                

7HOHSKRQH1R V 
+RPHBBBBBBBBBBBBBBBBBBBB:RUNBBBBBBBBBBBBBBBBBBBB&HOOBBBBBBBBBBBBBBBBBBBBB
,I\RXDUHUHSUHVHQWHGE\FRXQVHO\RXPD\SURYLGH\RXUDWWRUQH\¶VZRUNSKRQHQXPEHULQVWHDG
RI\RXURZQ

(PDLODGGUHVVBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
,I\RXDUHUHSUHVHQWHGE\FRXQVHO\RXPD\SURYLGH\RXUDWWRUQH\¶VHPDLODGGUHVVLQVWHDGRI\RXU
RZQ

6RFLDO6HFXULW\1XPEHU ODVWIRXUGLJLWVRQO\ BBBBBBBBBBBBBBBBBBBBBBBBBBBB

,I\RXDUHLQMDLORUSULVRQ\RXULGHQWLILFDWLRQQXPEHUDQGORFDWLRQRILQFDUFHUDWLRQ

BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB 

0D\WKH'LRFHVHWKH&RPPLWWHHDQGWKHLUUHVSHFWLYHFRXQVHORIUHFRUGLQWKLVFKDSWHUFDVH

OHDYHYRLFHPDLOVIRU\RXUHJDUGLQJ\RXUFODLP"              ‫<܆‬HV          ‫܆‬1R

0D\WKH'LRFHVHWKH&RPPLWWHHDQGWKHLUUHVSHFWLYHFRXQVHORIUHFRUGLQWKLVFKDSWHUFDVH

VHQGFRQILGHQWLDOLQIRUPDWLRQWR\RXUHPDLO"                ‫<܆‬HV         ‫܆‬1R

%LUWK'DWHBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
               0RQWK      'D\ <HDU

$Q\RWKHUQDPHRUQDPHVE\ZKLFKWKH$EXVH&ODLPDQWKDVEHHQNQRZQ LQFOXGLQJPDLGHQ
QDPHLIDSSOLFDEOH 

BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 35 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


    E     $EXVH&ODLPDQW¶V$WWRUQH\ LIDQ\ 


BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
/DZ)LUP1DPH

BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
$WWRUQH\¶V )LUVW1DPH         0LGGOH,QLWLDO             /DVW1DPH

BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
6WUHHW$GGUHVV

BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
&LW\                      6WDWH3URY      =LS&RGH 3RVWDO&RGH        &RXQWU\
                                                                       LIRWKHUWKDQ86$ 


BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
7HOHSKRQH1R           )D[1R                            (PDLODGGUHVV

                         





'2&6B'(
    Case 23-60507-6-pgr       Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 36 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


3$571$785(2)&203/$,17

  $WWDFKDGGLWLRQDOVHSDUDWHVKHHWVLIQHFHVVDU\ 

127(,)<28+$9(35(9,286/<),/('$/$:68,7$*$,1677+(',2&(6(
,167$7(25)('(5$/&28573/($6($77$&+7+(&203/$,17$1'
5(6321'727+(48(67,216%(/2:

      D   :KRFRPPLWWHGWKHDFWVRIDEXVHDJDLQVW\RX",QGLYLGXDOVLGHQWLILHGLQWKLVVHFWLRQ
            ZLOOEHUHIHUUHGWRDVWKH³DEXVHU´LQTXHVWLRQVEHORZ,IDSSOLFDEOH\RXPD\LGHQWLI\
            PRUHWKDQRQHDEXVHU3OHDVHSURYLGHWKHFRPSOHWHQDPH V RIHDFKDEXVHUWRWKHEHVW
            RI\RXUUHFROOHFWLRQ,I\RXGRQRWNQRZWKHQDPH V RIHDFKDEXVHUSOHDVHLGHQWLI\
            WKHPE\WLWOHSRVLWLRQRURWKHUGHVFULSWLRQ
             
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             

      E   +RZGLG\RXNQRZWKHDEXVHU")RUH[DPSOHZDVWKHDEXVHUDW\RXUFKXUFKVFKRRO
            RUSDUWRIDQRWKHUJURXSZLWKZKLFK\RXZHUHLQYROYHG":DVWKHDEXVHUDUHODWLYHRU
            IDPLO\IULHQG"
            
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

      F   ,I WKH DEXVHU ZDV DIILOLDWHG ZLWK D FKXUFK SDULVK VFKRRO RU 'LRFHVDQ
            RUJDQL]DWLRQSOHDVHLGHQWLI\VXFKFKXUFKSDULVKVFKRRORURUJDQL]DWLRQ
            
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            
            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
            
      G   :KHUH GLG WKH DEXVH WDNH SODFH" 3OHDVH EH VSHFLILF DQG FRPSOHWH DOO UHOHYDQW
            LQIRUPDWLRQ WR WKH EHVW RI \RXU UHFROOHFWLRQ LQFOXGLQJ WKH QDPHV RI ORFDWLRQV DQG
            DGGUHVVHVLINQRZQ

             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


'2&6B'(
    Case 23-60507-6-pgr       Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 37 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


             
      H   :KHQGLGWKHDEXVHWDNHSODFH"3OHDVHEHDVVSHFLILFDVSRVVLEOH,I\RXGRQRW
            UHFDOOWKHH[DFWGDWHSURYLGHDVPXFKLQIRUPDWLRQDVSRVVLEOHLQFOXGLQJWKH\HDUDQG
            VHDVRQ IDOOZLQWHUVSULQJRUVXPPHURUVFKRRO\HDUDQGJUDGH 
             
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             
      I   'R\RXNQRZKRZROG\RXZHUHDWWKHWLPHWKHDEXVHEHJDQDQGHQGHG"3OHDVHEH
            DVVSHFLILFDVSRVVLEOH,I\RXGRQRWUHFDOOWKHH[DFWGDWHSURYLGHDVPXFKLQIRUPDWLRQ
            DVSRVVLEOHLQFOXGLQJWKH\HDUDQGVHDVRQ IDOOZLQWHUVSULQJRUVXPPHURUVFKRRO
            \HDUDQGJUDGH 

             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             
             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             
      J   3OHDVH GHVFULEH WKH QDWXUH RI WKH DEXVH  ,I \RX DUH DEOH SOHDVH VSHFLI\ ZKDW
            KDSSHQHG HJ WKH FLUFXPVWDQFHV DSSUR[LPDWH QXPEHU RI RFFXUUHQFHV IUHTXHQF\
            GXUDWLRQDQGW\SH V RIDEXVH 
      
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                 
                 BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
             





'2&6B'(
    Case 23-60507-6-pgr       Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 38 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


      K   +DYH\RXH[SHULHQFHGLQMXU\DQGRUGDPDJHVEHFDXVHRIWKHDFWRUDFWVRIDEXVH
            GHVFULEHGDERYH"3OHDVHSURYLGHDVPXFKGHWDLODVSRVVLEOH)RUH[DPSOHGHVFULEH
            DQ\ LQMXULHV RU GDPDJHV DV ZHOO DV DQ\ HIIHFW RQ \RXU HPRWLRQV HGXFDWLRQ
            HPSOR\PHQWSHUVRQDOUHODWLRQVKLSVKHDOWKRUIDLWK

                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

      L   +DYH \RX HYHU DVVHUWHG D FODLP DJDLQVW WKH 'LRFHVH RU DJDLQVW DQ\ HQWLW\ RU
            LQGLYLGXDO RWKHU WKDQ WKH 'LRFHVH LQFOXGLQJ EXW QRW OLPLWHG WR DQ\ SDULVK
            FKXUFK VFKRRO WKH %R\ 6FRXWV RI $PHULFD RU DQ\ ORFDO FRXQFLOWKHUHRI RU DQ\
            RWKHU RUJDQL]DWLRQ  UHODWLQJ WR WKH DEXVH GHVFULEHG LQ WKLV FODLP"  ,I \RX KDYH
            SOHDVHVWDWH ZKHQ \RX DVVHUWHGWKH FODLP DJDLQVW ZKRPWKHFODLP ZDV DVVHUWHGWKH
            PDQQHU LQ ZKLFK WKH FODLP ZDV DVVHUWHG IRU H[DPSOH D FRPSODLQW PDGH WR ODZ
            HQIRUFHPHQW D ODZVXLW RU GHPDQG OHWWHU SDUWLFLSDWLRQ LQ WKH 'LRFHVH¶V ,QGHSHQGHQW
            5HFRQFLOLDWLRQDQG&RPSHQVDWLRQ3URJUDP ,5&3 RUDVLPLODUSURJUDPVSRQVRUHGE\
            DQHQWLW\RWKHUWKDQWKH'LRFHVHDQLQIRUPDOUHTXHVWIRUFRPSHQVDWLRQHWF DQGWKH
            UHVXOWRIVXFKFODLP LQFOXGLQJIRUH[DPSOHZKHWKHUVXFKFODLPUHVXOWHGLQDVHWWOHPHQW
            RU ZDV DGMXGLFDWHG DQG LI VR WKH WHUPV RI DQ\ QRQFRQILGHQWLDO VHWWOHPHQW RU WKH
            RXWFRPHRIVXFKDGMXGLFDWLRQ 

                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                
                BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




'2&6B'(
    Case 23-60507-6-pgr           Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                   Main Document     Page 39 of 92
                                                            &RPPLWWHH3URSRVHG%DU'DWH2UGHU


       M     'LG\RXWHOODQ\RQHDERXWWKHDEXVHDQGLIVRZKRPGLG\RXWHOO",I\RXGLGWHOO
               DQ\RQH ZKDW GLG \RX WHOO WKDW SHUVRQ DQG ZKHQ"  <RX GR QRW QHHG WR GLVFORVH DQ\
               FRPPXQLFDWLRQV\RXKDGZLWKDQDWWRUQH\

                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    
                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                    
                
    &RXQVHOIRUWKH$EXVH&ODLPDQWRUWKH$EXVH&ODLPDQWVKRXOGVLJQEHORZ,IEHLQJVLJQHGE\FRXQVHOSOHDVH
    LQGLFDWHWKDW\RXDUHFRXQVHO

    ,I\RXDUHVLJQLQJWKHFODLPRQEHKDOIRIDPLQRUGHFHGHQWRULQFDSDFLWDWHGSHUVRQVWDWH
    \RXUUHODWLRQVKLSWRWKH$EXVH&ODLPDQW
    
    8QGHUSHQDOW\RISHUMXU\,GHFODUHWKHIRUHJRLQJVWDWHPHQWVWREHWUXHDQGFRUUHFW
    
    
    'DWH                   
    
    
    6LJQDWXUH                                                   
    
    3ULQW1DPH                                                  
    
    
    5HODWLRQVKLSWRWKH6H[XDO$EXVH&ODLPDQW                       
    



                                                           

                                                           

                                                           





'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 40 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                                           6FKHGXOH

                                       7R3URSRVHG2UGHU 

                                   &RQILGHQWLDOLW\$JUHHPHQW





'2&6B'(
    Case 23-60507-6-pgr                Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                        Main Document     Page 41 of 92
                                                                 &RPPLWWHH3URSRVHG%DU'DWH2UGHU


81,7('67$7(6%$1.5837&<&2857                                              
1257+(51',675,&72)1(:<25.
                                                        
  ,QUH                                                
                                                        &DVH1R 3*5 
  7KH5RPDQ&DWKROLF'LRFHVH                           
  RI2JGHQVEXUJ1HZ<RUN                              &KDSWHU
                                                        
  'HEWRU           
                                                      

                        $87+25,=('3$57<&21),'(17,$/,7<$*5((0(17
                                        5(*$5',1*$%86(3522)62)&/$,0
                                                       
7KLV$XWKRUL]HG3DUW\&RQILGHQWLDOLW\$JUHHPHQW5HJDUGLQJ$EXVH3URRIVRI&ODLP
  ³$JUHHPHQW´ LVHQWHUHGLQWRDVRI>BBBBBBBBBBBBBB@>BB@

%\>BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB@ WKH³5HFLSLHQW´ DQ
$XWKRUL]HG3DUW\SXUVXDQWWRWKHOrder Establishing a Deadline for Filing Proofs of Claim and
Approving the Form and Manner of Notice Thereof WKH³%DU'DWH 2UGHU´ >'RFNHW 1R BBB@
HQWHUHG E\ WKH 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW IRU WKH 1RUWKHUQ 'LVWULFW RI 1HZ <RUN WKH
³%DQNUXSWF\&RXUW´ LQWKHDERYHFDSWLRQHGFKDSWHUEDQNUXSWF\FDVH WKH³&KDSWHU&DVH´ 
RQ>BBBBBBBBBBBBBBB@

:+(5($6WKH5HFLSLHQWZLOOEHJUDQWHGDFFHVVWR$EXVH3URRIVRI&ODLPILOHGLQWKH&KDSWHU
&DVHDIWHUH[HFXWLRQRIWKLV$JUHHPHQWSXUVXDQWWRDQGLQDFFRUGDQFHZLWKWKHWHUPVRIWKH%DU
'DWH2UGHUDQGWKLV$JUHHPHQW

:+(5($65HFLSLHQWDFNQRZOHGJHVWKDWWKH$EXVH3URRIVRI&ODLPFRQWDLQVHQVLWLYHQRQSXEOLF
LQIRUPDWLRQZKLFKLVWRUHPDLQFRQILGHQWLDOSXUVXDQWWRWKH%DU'DWH2UGHUDQGWKHWHUPVRIWKLV
$JUHHPHQWDQG

:+(5($6ZLWKWKHH[FHSWLRQRIFRXQVHORIUHFRUGWR$XWKRUL]HG3DUWLHVDFFHVVWRWKH$EXVH
&ODLP6XSSOHPHQWVH[WHQGVRQO\WRWKHQDWXUDOSHUVRQZKRH[HFXWHVWKLV$JUHHPHQWDQGDVHSDUDWH
FRS\RIWKLV$JUHHPHQW PXVWEHVLJQHGE\ HDFK QDWXUDO SHUVRQZKRVHHNVDFFHVV WR WKH$EXVH
3URRIVRI&ODLPRQEHKDOIRIDQ$XWKRUL]HGRU3HUPLWWHG3DUW\&RXQVHORI5HFRUGWR$XWKRUL]HG
3DUWLHVPD\VLJQRQHIRUPRQEHKDOIRIWKHLUILUPDQGWKHWHUPVRIWKLV$JUHHPHQWDQGWKH%DU
'DWH2UGHUVKDOODSSO\WRHDFKPHPEHUSDUWQHUVKDUHKROGHUFRXQVHODVVRFLDWHSDUDSURIHVVLRQDO
DQGHPSOR\HHRIWKH5HFLSLHQWILUPDQGDOOVXFKLQGLYLGXDOVVKDOOEHVXEMHFWWRWKHWHUPVRIWKLV
$JUHHPHQWDQGWKH%DU'DWH2UGHUDVWKRXJKWKH\KDGVLJQHGLWRQWKHLURZQEHKDOI






&DSLWDOL]HGWHUPVXVHGEXWQRWRWKHUZLVHGHILQHGKHUHLQVKDOOKDYHWKHPHDQLQJVDVFULEHGWRWKHPLQWKH%DU'DWH
2UGHU



'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 42 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


12:7+(5()25(,7,6$*5(('$6)2//2:6

     5HFLSLHQWDJUHHVWKDWWKH$EXVH3URRIVRI&ODLPDQGDQ\&RQILGHQWLDO,QIRUPDWLRQ DVVXFK
        WHUP LV GHILQHG EHORZ  FRQWDLQHG WKHUHLQ VKDOO EH NHSW FRQILGHQWLDO SXUVXDQW WR DQG LQ
        DFFRUGDQFHZLWKWKHWHUPVRIWKH%DU'DWH2UGHUDQGWKLV$JUHHPHQW

     )RUSXUSRVHVRIWKLV$JUHHPHQWWKHWHUP³&RQILGHQWLDO,QIRUPDWLRQ´PHDQVHDFK$EXVH
        3URRIRI&ODLPLWVHOIDQGDQ\LQIRUPDWLRQFRQWDLQHGLQD$EXVH3URRIRI&ODLPH[FHSW
        WKDW&RQILGHQWLDO,QIRUPDWLRQVKDOOQRWLQFOXGHDQ\LQIRUPDWLRQ D WKDWWKH$EXVH&ODLPDQW
        HOHFWVWRSHUPLWGLVFORVXUHRIWKHLQIRUPDWLRQFRQWDLQHGLQWKH$EXVH3URRIRI&ODLPE\
        DXWKRUL]LQJ VXFK GLVFORVXUH SXUVXDQW WR WKH WHUPV RI WKH $EXVH &ODLP 6XSSOHPHQW RU
         E LQIRUPDWLRQWKDW L ZDVNQRZQWRWKH5HFLSLHQWSULRUWREHLQJGLVFORVHGLQDQ$EXVH
        3URRIRI&ODLP LL LVRUEHFRPHVJHQHUDOO\DYDLODEOHWRWKHSXEOLFWKURXJKQRDFWRUIDLOXUH
        WRDFWRQWKHSDUWRIWKH5HFLSLHQW LLL LVREWDLQHGIURPDWKLUGSDUW\XQGHUQRREOLJDWLRQ
        WRPDLQWDLQLWVFRQILGHQWLDOLW\RU LY LVGHYHORSHGE\WKH5HFLSLHQWLQGHSHQGHQWO\ZLWKRXW
        UHIHUHQFHWRDQ\$EXVH3URRIRI&ODLP

     5HFLSLHQW DJUHHV WR QRW WR XVH RU GLVWULEXWH DQ\ $EXVH 3URRIV RI &ODLP RU &RQILGHQWLDO
        ,QIRUPDWLRQLQYLRODWLRQRIWKLV$JUHHPHQW

     5HFLSLHQW PD\XVH $EXVH 3URRIVRI&ODLP DQGDQ\&RQILGHQWLDO ,QIRUPDWLRQ FRQWDLQHG
        WKHUHLQRQO\LQFRQQHFWLRQZLWKWKHHYDOXDWLRQLQYHVWLJDWLRQSURVHFXWLRQRUGHIHQVHRI
        WKHFODLPVDVVHUWHGLQVXFK$EXVH3URRIVRI&ODLPLQWKH'LRFHVH¶V&KDSWHU&DVHDQ\
        UHODWHG DGYHUVDU\ SURFHHGLQJV RU FRQWHVWHG PDWWHUV LQ WKH &KDSWHU  &DVH DQ\ UHODWHG
        LQVXUDQFHRUUHLQVXUDQFHFRYHUDJHGHPDQGVFODLPVGLVSXWHVRUOLWLJDWLRQIRUWKHFDUU\LQJ
        RXWRIWKH'LRFHVH¶VVDIHHQYLURQPHQWSROLFLHVDQGVHWWOHPHQWQHJRWLDWLRQVRUPHGLDWLRQV
        UHJDUGLQJDOORIWKHIRUHJRLQJDQGDVRWKHUZLVHUHTXLUHGE\DSSOLFDEOHIHGHUDORUVWDWHODZV
        RUUHJXODWLRQV HDFKD³3HUPLWWHG8VH´ 

     5HFLSLHQW VKDOO QRW GLVFORVH DQ\ &RQILGHQWLDO ,QIRUPDWLRQ WR DQ\ RWKHU SHUVRQ RU HQWLW\
        H[FHSWWKDW5HFLSLHQWPD\GLVFORVH&RQILGHQWLDO,QIRUPDWLRQ L WRDQ\SHUVRQRUHQWLW\WKDW
        LVDQ$XWKRUL]HG3DUW\ZKRPD\UHFHLYHVXFKLQIRUPDWLRQSXUVXDQWWRWKH%DU'DWH2UGHU
        DQG KDV H[HFXWHG D FRS\ RI WKLV $JUHHPHQW LL  WR WKH %DQNUXSWF\ &RXUW RU DQ\ RWKHU
        WULEXQDO RI FRPSHWHQW MXULVGLFWLRQ VR ORQJ DV VXFK GLVFORVXUH LV PDGH SXUVXDQW WR D
        3HUPLWWHG 8VH DQG XQGHU VHDO RU PDGH in camera RU LLL  SXUVXDQW WR DQ RUGHU RI WKH
        %DQNUXSWF\ &RXUW DIWHU D KHDULQJ DQG XSRQ QRWLFH WR WKH DIIHFWHG FODLPDQW V  DQG WKH
        'LRFHVH

     5HFLSLHQWFRQVHQWVWRWKHH[FOXVLYHMXULVGLFWLRQRIWKH%DQNUXSWF\&RXUWWRDGMXGLFDWHDQ\
        GLVSXWHVZLWKUHVSHFWWRDQ\WHUPVFRQGLWLRQRUDOOHJHGYLRODWLRQVRIWKLV$JUHHPHQWRUWKH
        %DU'DWH2UGHU

     5HFLSLHQWVKDOOSURPSWO\UHSRUWDQ\GLVFORVXUHRI&RQILGHQWLDO,QIRUPDWLRQLQYLRODWLRQRU
        EUHDFKRIWKLV$JUHHPHQWWRWKH'LRFHVHDQGWKH&RPPLWWHHDQGVKDOOFRRSHUDWHZLWKHIIRUWV
        WRUHFRYHUDQGVHFXUHDQ\VXFK&RQILGHQWLDO,QIRUPDWLRQDQGRUWRPLWLJDWHWKHHIIHFWVRI
        DQ\VXFKGLVFORVXUH




'2&6B'(
    Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                 Main Document     Page 43 of 92
                                                          &RPPLWWHH3URSRVHG%DU'DWH2UGHU


       1RWKLQJ LQ WKLV $JUHHPHQW SUHFOXGHV 5HFLSLHQW IURP VHHNLQJ D PRGLILFDWLRQ RI WKH %DU
          'DWH 2UGHU RU WKH WHUPV RI WKLV $JUHHPHQW ZLWK UHVSHFW WR DQ\ SURSRVHG GLVFORVXUH RI
          &RQILGHQWLDO,QIRUPDWLRQFRQWDLQHGLQDQ\$EXVH3URRIRI&ODLPprovidedhoweverWKDW
          D DQ\PRWLRQ IRUVXFKPRGLILFDWLRQVKDOOEHRQQRWLFHWRDOO $EXVH&ODLPDQWVDQGWKH
          'LRFHVHDQG E 5HFLSLHQWVKDOOQRWGLVFORVHDQ\&RQILGHQWLDO,QIRUPDWLRQLQFRQQHFWLRQ
          ZLWK DQ\ VXFK SHWLWLRQ XQOHVV VXFK GLVFORVXUH LV UHVWULFWHG WR WKH %DQNUXSWF\ &RXUW WKH
          'LRFHVHWKH&RPPLWWHHWKHDIIHFWHGFODLPDQW V DQGPDGHXQGHUVHDO

       7KLV $JUHHPHQW VKDOO EHFRPH HIIHFWLYH DV RI WKH GDWH LW LV GHOLYHUHG WR FRXQVHO IRU WKH
          'LRFHVH

'DWHGBBBBBBBBBBBBBBBBBBB
                                                   %\     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                           6LJQDWXUH
                                                           
                                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                           3ULQW1DPH
                                  





'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 44 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                                           6FKHGXOH

                                       7R3URSRVHG2UGHU 

                                    )RUPRI%DU'DWH1RWLFH





'2&6B'(
    Case 23-60507-6-pgr                Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                        Main Document     Page 45 of 92
                                                                 &RPPLWWHH3URSRVHG%DU'DWH2UGHU


81,7('67$7(6%$1.5837&<&2857                                       
1257+(51',675,&72)1(:<25.
                                                 
  ,QUH                                         
                                                 &DVH1R 3*5 
  7KH5RPDQ&DWKROLF'LRFHVH                    
  RI2JGHQVEXUJ1HZ<RUN                       &KDSWHU
                                                 
  'HEWRU    
                                              

                        127,&(2)%$5'$7(6)25),/,1*3522)62)&/$,0

72$//3(56216$1'(17,7,(6:,7+&/$,06$*$,1677+(520$1&$7+2/,&
',2&(6(2)2*'(16%85*1(:<25.

<28 6+28/' &2168/7 $1 $77251(< ,) <28 +$9( $1< 48(67,216
,1&/8',1*:+(7+(5<28+$9($&/$,025:+(7+(5<280867),/($
3522) 2) &/$,0 <28 0$< $/62 2%7$,1 ,1)250$7,21 )520 7+(
2)),&,$/ &200,77(( 2) 816(&85(' &5(',7256 %< &$//,1*
>BBBBBBBBBBBB@
         
         3/($6(7$.(127,&(WKDWRQ-XO\ WKH³3HWLWLRQ'DWH´ 7KH5RPDQ&DWKROLF
'LRFHVH RI 2JGHQVEXUJ 1HZ <RUN WKH ³'LRFHVH´  ILOHG D YROXQWDU\ SHWLWLRQ IRU UHOLHI XQGHU
FKDSWHURIWLWOHRIWKH8QLWHG6WDWHV&RGH 86&et seq.WKH³%DQNUXSWF\&RGH´ 
LQWKH8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH1RUWKHUQ'LVWULFWRI1HZ<RUN WKH³%DQNUXSWF\
&RXUW´ ,QIRUPDWLRQUHJDUGLQJWKH'LRFHVHLWVEXVLQHVVDQGRWKHUUHOHYDQWLQIRUPDWLRQUHODWHGWR
WKLVFKDSWHUFDVH WKH³&KDSWHU&DVH´ PD\EHREWDLQHGDWWKHFDVHPDQDJHPHQWZHEVLWH
PDLQWDLQHG E\ 6WUHWWR WKH 'LRFHVH¶V &ODLPV DQG 1RWLFLQJ $JHQW DW
KWWSVFDVHVWUHWWRFRPGLRFHVHRIRJGHQVEXUJ
         
         3/($6(7$.()857+(5127,&(WKDWRQ>BBBBBBBBBBBBBB@WKH%DQNUXSWF\
&RXUW HQWHUHG DQ RUGHU WKH ³%DU 'DWH 2UGHU´  HVWDEOLVKLQJ -DQXDU\   DW  SP
  SUHYDLOLQJ(DVWHUQWLPH DVWKHGHDGOLQHIRUDOOSHUVRQVDQG(QWLWLHVLQFOXGLQJSHUVRQVDVVHUWLQJ
$EXVH&ODLPVDQG*RYHUQPHQWDO8QLWVWRILOHSUHSHWLWLRQFODLPVLQWKLV&KDSWHU&DVH WKH³%DU
'DWH´ 
         
         ([FHSWDVGHVFULEHGEHORZWKH%DU'DWH2UGHUUHTXLUHVDOOSHUVRQVRU(QWLWLHVLQFOXGLQJ
*RYHUQPHQWDO8QLWVWKDWKDYHRUPD\DVVHUWSUHSHWLWLRQFODLPVRIDQ\QDWXUHDJDLQVWWKH'LRFHVH
LQFOXGLQJ$EXVH&ODLPVWRVXEPLWSURRIVRIFODLPVRWKDWWKH\DUHUHFHLYHGE\6WUHWWRRQRUEHIRUH
WKH %DU 'DWH 3OHDVH QRWH WKDW WKH WHUPV ³(QWLW\´ ³*RYHUQPHQWDO 8QLW´ ³&ODLP´ DQG ³$EXVH
&ODLP´DUHGHILQHGEHORZ





    &DSLWDOL]HGWHUPVXVHGEXWQRWGHILQHGKHUHLQVKDOOKDYHWKHPHDQLQJVDVFULEHGWRWKHPLQWKH%DU'DWH2UGHU



'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 46 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


         3/($6(7$.()857+(5127,&(WKDWDOOFODLPDQWVDUHGLUHFWHGWRXVHWKH3URRIRI
&ODLP)RUPDSSURYHGLQWKH%DU'DWH2UGHUWRVXEPLWWKHLUFODLP$FRS\RIWKH3URRIRI&ODLP
)RUPLVHQFORVHGZLWKWKLV1RWLFH$OOFODLPDQWVZLVKLQJWRDVVHUW$EXVH&ODLPVDUHGLUHFWHGWR
FRPSOHWHDQGVXEPLWWKH$EXVH&ODLP6XSSOHPHQWLQDGGLWLRQWRWKHLU3URRIRI&ODLP)RUP,IWKH
'LRFHVH KDV LGHQWLILHG \RX DV KDYLQJ D SRWHQWLDO $EXVH &ODLP D FRS\ RI WKH $EXVH &ODLP
6XSSOHPHQWLVDOVRHQFORVHGZLWKWKLV1RWLFH,IQR3URRIRI&ODLP)RUPDFFRPSDQLHVWKLV1RWLFH
RULI\RXZLVKWRDVVHUWDQ$EXVH&ODLPDQGGLGQRWUHFHLYHDQ$EXVH&ODLP6XSSOHPHQWFRSLHV
RIERWKWKH3URRIRI&ODLP)RUPDQGWKH $EXVH&ODLP6XSSOHPHQWPD\EHREWDLQHGRQOLQHE\
YLVLWLQJKWWSVFDVHVWUHWWRFRPGLRFHVHRIDJGHQVEXUJRUPD\EHUHTXHVWHGE\FDOOLQJ  

         
                                          .(<'(),1,7,216
                                                       
$VXVHGLQWKLV1RWLFHWKHWHUP³(QWLW\´KDVWKHPHDQLQJJLYHQWRLWLQVHFWLRQ  RIWKH
%DQNUXSWF\&RGHDQGLQFOXGHVDOOSHUVRQV LQGLYLGXDOVSDUWQHUVKLSVDQGFRUSRUDWLRQV HVWDWHV
WUXVWV*RYHUQPHQWDO8QLWVDQGWKH8QLWHG6WDWHV7UXVWHH
    
$V XVHG LQ WKLV 1RWLFH WKH WHUP ³*RYHUQPHQWDO 8QLW´ KDV WKH PHDQLQJ JLYHQ WR LW LQ VHFWLRQ
  RIWKH%DQNUXSWF\&RGHDQGLQFOXGHVWKH8QLWHG6WDWHV6WDWHVFRPPRQZHDOWKVGLVWULFWV
WHUULWRULHV PXQLFLSDOLWLHV IRUHLJQ VWDWHV RU GHSDUWPHQWV DJHQFLHV RU LQVWUXPHQWDOLWLHV RI WKH
IRUHJRLQJ
    
$VXVHGLQWKLV1RWLFHWKHWHUP³&ODLP´VKDOOPHDQDVWRRUDJDLQVWWKH'LRFHVHDQGLQDFFRUGDQFH
ZLWKVHFWLRQ  RIWKH%DQNUXSWF\&RGH L DQ\ULJKWWRSD\PHQWZKHWKHURUQRWVXFKULJKWLV
UHGXFHGWRMXGJPHQWOLTXLGDWHGXQOLTXLGDWHGIL[HGFRQWLQJHQWPDWXUHGXQPDWXUHGGLVSXWHG
XQGLVSXWHG OHJDO HTXLWDEOH VHFXUHG RU XQVHFXUHG RU LL DQ\ ULJKW WR DQ HTXLWDEOH UHPHG\ IRU
EUHDFKRISHUIRUPDQFHLIVXFKEUHDFKJLYHVULVHWRDULJKWWRSD\PHQWZKHWKHURUQRWVXFKULJKWWR
DQ HTXLWDEOH UHPHG\ LV UHGXFHG WR MXGJPHQW IL[HG FRQWLQJHQW PDWXUHG XQPDWXUHG GLVSXWHG
XQGLVSXWHGVHFXUHGRUXQVHFXUHG
    
$VXVHGLQWKLV1RWLFHWKHWHUP³$EXVH&ODLP´VKDOOPHDQDQ\&ODLPDJDLQVWWKH'LRFHVHUHVXOWLQJ
RUDULVLQJLQZKROHRULQSDUWGLUHFWO\RULQGLUHFWO\IURPDQ\DFWXDORUDOOHJHGVH[XDOFRQGXFWRU
PLVFRQGXFW VH[XDO DEXVH RU PROHVWDWLRQ LQGHFHQW DVVDXOW DQGRU EDWWHU\ UDSH SHGRSKLOLD
HSKHERSKLOLD RU VH[XDOO\UHODWHG SK\VLFDO SV\FKRORJLFDO RU HPRWLRQDO KDUP RU FRQWDFWV RU
LQWHUDFWLRQVRIDVH[XDOQDWXUHEHWZHHQDFKLOGDQGDQDGXOWRUDQRQFRQVHQWLQJDGXOWDQGDQRWKHU
DGXOW VH[XDO DVVDXOW VH[XDO EDWWHU\ VH[XDO SV\FKRORJLFDO RU HPRWLRQDO DEXVH KXPLOLDWLRQ RU
LQWLPLGDWLRQRUDQ\RWKHUFRQGXFWFRQVWLWXWLQJDVH[XDORIIHQVHLQFHVWRUXVHRIDFKLOGLQDVH[XDO
SHUIRUPDQFH DV VXFK WHUPV DUH GHILQHG LQ WKH 1HZ <RUN 3HQDO /DZ  DQG VHHNLQJ PRQHWDU\
GDPDJHV RU DQ\ RWKHU UHOLHI XQGHU DQ\ WKHRU\ RI OLDELOLW\ LQFOXGLQJ YLFDULRXV OLDELOLW\ DQ\
QHJOLJHQFHEDVHGWKHRU\FRQWULEXWLRQLQGHPQLW\RUDQ\RWKHUWKHRU\EDVHGRQDQ\DFWVRUIDLOXUHV
WRDFWE\WKH'LRFHVHRUDQ\RWKHUSHUVRQRUHQWLW\IRUZKRVHDFWVRUIDLOXUHVWRDFWWKH'LRFHVHLV
RUZDVDOOHJHGO\UHVSRQVLEOH
              





'2&6B'(
    Case 23-60507-6-pgr        Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                Main Document     Page 47 of 92
                                                         &RPPLWWHH3URSRVHG%DU'DWH2UGHU


,     :+20867),/($3522)2)&/$,0

         D Bar Date7KH%DU'DWH2UGHUHVWDEOLVKHV-DQXDU\DWSP SUHYDLOLQJ
             (DVWHUQWLPH DVWKH%DU'DWH$OOSHUVRQVRU(QWLWLHVLQFOXGLQJZLWKRXWOLPLWDWLRQ
             DQ\SHUVRQZLVKLQJWRDVVHUWDQ$EXVH&ODLPDQG*RYHUQPHQWDO8QLWVPXVWILOHWKHLU
             SURRIVRIFODLPRQRUEHIRUHWKH*HQHUDO%DU'DWH

         E The Following Persons or Entities Must File a Proof of Claim on or Before the
             Applicable Bar Date:
         
                 L $Q\SHUVRQRU(QWLW\ZKRVHSUHSHWLWLRQFODLPZDVQRWOLVWHGLQWKH'LRFHVH¶V
                     6FKHGXOHV RI $VVHWV DQG /LDELOLWLHV ILOHG LQ WKLV &KDSWHU  &DVH WKH
                     ³6FKHGXOHV´ RUDQ\DPHQGPHQWWKHUHWRRUZKRVHSUHSHWLWLRQFODLPLVOLVWHG
                     LQWKH6FKHGXOHVEXWLVGHVLJQDWHGDVEHLQJ³FRQWLQJHQW´³XQOLTXLGDWHG´RU
                     ³GLVSXWHG´DQGZKRGHVLUHVWRSDUWLFLSDWHLQWKLV&KDSWHU&DVHRUWRVKDUH
                     LQDQ\GLVWULEXWLRQVWRFUHGLWRUVWKDWPD\EHPDGHLQWKLV&KDSWHU&DVH
                     
                LL $Q\ SHUVRQ RU (QWLW\ ZKR EHOLHYHV WKDW LWV SUHSHWLWLRQ FODLP LV LPSURSHUO\
                     FODVVLILHGLQWKH6FKHGXOHVRULVOLVWHGLQDQLQFRUUHFWDPRXQWDQGWKDWGHVLUHV
                     WRKDYHLWVFODLPDOORZHGLQDFODVVLILFDWLRQRUDPRXQWRWKHUWKDQDVLGHQWLILHG
                     LQWKH6FKHGXOHVDQG
                     
               LLL $Q\ SHUVRQ ZKR ZLVKHV WR DVVHUW DQ $EXVH &ODLP DJDLQVW WKH 'LRFHVH
                     UHJDUGOHVVRIZKHWKHUVXFKSHUVRQKDVSUHYLRXVO\ILOHGDODZVXLWDJDLQVWWKH
                     'LRFHVHRURWKHUZLVHKDVJLYHQIRUPDORULQIRUPDOQRWLFHRIVXFKFODLPVWR
                     WKH'LRFHVHLQFOXGLQJDQ\SHUVRQZKRVHFODLPPD\EHVXEMHFWWRDVWDWXWHRI
                     OLPLWDWLRQV

        F The Following Persons or Entities are Not Required to File Proofs of Claim at this
            Time:

                  L   $Q\SHUVRQRU(QWLW\WKDWKDVDOUHDG\SURSHUO\ILOHGDSURRIRIFODLPDJDLQVW
                        WKH 'LRFHVH ZLWK WKH &OHUN RI WKH &RXUW IRU WKH 8QLWHG 6WDWHV %DQNUXSWF\
                        &RXUWIRUWKH1RUWKHUQ'LVWULFWRI1HZ<RUN8WLFD'LYLVLRQH[FHSWWKDWDQ\
                        SHUVRQ ZKR KDV DVVHUWHG DQ $EXVH &ODLP PXVW VXEPLW D FRPSOHWHG $EXVH
                        &ODLP 6XSSOHPHQW LQ DFFRUGDQFH ZLWK WKH UHTXLUHPHQWV RI WKH %DU 'DWH
                        2UGHU
                        
                LL    $Q\ SHUVRQ RU (QWLW\ D  ZKRVH FODLP LV OLVWHG LQ WKH 6FKHGXOHV RU DQ\
                        DPHQGPHQWV WKHUHWR DQG E  ZKRVH FODLP LV QRW LGHQWLILHG WKHUHLQ DV
                        ³FRQWLQJHQW´³XQOLTXLGDWHG´RU³GLVSXWHG´DQG F ZKRGRHVQRWGLVSXWHWKH
                        DPRXQWRUFODVVLILFDWLRQRILWVFODLPDVVHWIRUWKLQWKH6FKHGXOHV
                        
                LLL   $Q\ SURIHVVLRQDOV UHWDLQHG E\ WKH 'LRFHVH RU WKH &RPPLWWHH SXUVXDQW WR
                        RUGHUVRIWKH%DQNUXSWF\&RXUWZKRDVVHUWDGPLQLVWUDWLYHFODLPVIRUSD\PHQW




'2&6B'(
    Case 23-60507-6-pgr        Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                Main Document     Page 48 of 92
                                                         &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                       RIIHHVDQGH[SHQVHVVXEMHFWWRWKH&RXUW¶VDSSURYDOSXUVXDQWWRVHFWLRQV
                        D DQG E RIWKH%DQNUXSWF\&RGH
                       
                LY   $Q\SHUVRQRU(QWLW\WKDWDVVHUWVDQDGPLQLVWUDWLYHH[SHQVHFODLPDJDLQVWWKH
                       'LRFHVHSXUVXDQWWRVHFWLRQV E RU D  RIWKH%DQNUXSWF\&RGH
                       
                Y    $Q\SHUVRQRU(QWLW\ZKRVHFODLPDJDLQVWWKH'LRFHVHLVDOORZHGE\DQRUGHU
                       RIWKH%DQNUXSWF\&RXUWHQWHUHGRQRUEHIRUHWKHDSSOLFDEOH%DU'DWHDQG

                YL   $Q\SHUVRQRU(QWLW\ZKRVHFODLPKDVEHHQSUHYLRXVO\VHWWOHGRUSDLGLQIXOO
         
,,     &21),'(17,$/,7<2)$%86(&/$,06

        3XUVXDQWWRWKH%DU'DWH2UGHUZKHUHDQ$EXVH&ODLP)RUPLVDFFRPSDQLHGE\DQ$EXVH
&ODLP 6XSSOHPHQW VXFK $EXVH &ODLP 6XSSOHPHQW VKDOO EH WUHDWHG DV DSRUWLRQ RI VXFK $EXVH
3URRIRI&ODLPIRUSXUSRVHVRIFRQILGHQWLDOLW\$OOILOHG$EXVH3URRIVRI&ODLPZLOOEHWUHDWHG
FRQILGHQWLDOO\LQWKLV&KDSWHU&DVHXQOHVVWKH$EXVH&ODLPDQWHOHFWVWRKDYHKLVRUKHUFODLP
SXEOLFO\GLVFORVHG$Q\$EXVH3URRIRI&ODLPWKDW\RXILOHZLOOQRWEHDYDLODEOHWRWKHJHQHUDO
SXEOLFDQGZLOOEHNHSWFRQILGHQWLDOH[FHSWWKDWLQIRUPDWLRQZLOOEHSURYLGHGWR$XWKRUL]HG3DUWLHV
XQGHU WKH %DU 'DWH 2UGHU DOO RI ZKRP ZLOO DJUHH WR NHHS WKH LQIRUPDWLRQ SURYLGHG E\ \RX
FRQILGHQWLDOSXUVXDQWWRWKH%DU'DWH2UGHU
        
,,, &216(48(1&(62))$,/85(72),/(3522)2)&/$,0

$Q\SHUVRQRU(QWLW\WKDWLVUHTXLUHGWRILOHDSURRIRIFODLPEXWIDLOVWRGRVRRQRUEHIRUH
WKHDSSOLFDEOH%DU'DWHPD\QRWEHWUHDWHGDVDFUHGLWRUZLWKUHVSHFWWRVXFK&ODLPDQGPD\
QRWEHHQWLWOHGWRYRWHWRDFFHSWRUUHMHFWRUWRVKDUHLQDQ\GLVWULEXWLRQXQGHUDQ\&KDSWHU
 SODQ SURSRVHG DQGRU FRQILUPHG LQ WKLV &KDSWHU  &DVH  ,I LW LV XQFOHDU IURP WKH
6FKHGXOHVZKHWKHU\RXU&ODLPLV GLVSXWHGFRQWLQJHQWRUXQOLTXLGDWHGDVWRDPRXQWRULV
RWKHUZLVH SURSHUO\ OLVWHG DQG FODVVLILHG \RX PXVW ILOH D SURRI RI FODLP RQ RU EHIRUH WKH
DSSOLFDEOH %DU 'DWH $Q\ SDUW\ WKDW UHOLHV RQ WKH LQIRUPDWLRQ LQ WKH 6FKHGXOHV EHDUV
UHVSRQVLELOLW\IRUGHWHUPLQLQJWKDWLWV&ODLPLVDFFXUDWHO\OLVWHGWKHUHLQ


                                     5(6(59$7,212)5,*+76
                                                       
1RWKLQJLQWKH%DU'DWH2UGHUVKDOOEHFRQVWUXHGDVOLPLWLQJDQ\SDUW\¶VULJKWVWR L GLVSXWHRU
WR DVVHUW RIIVHWV RU GHIHQVHV DJDLQVW DQ\ ILOHG &ODLP RU DQ\ &ODLP OLVWHG RU UHIOHFWHG LQ WKH
6FKHGXOHV DV WR QDWXUH DPRXQW OLDELOLW\ FODVVLILFDWLRQ RU RWKHUZLVH DQG LL  VXEVHTXHQWO\
GHVLJQDWHDQ\&ODLPDVGLVSXWHGFRQWLQJHQWRUXQOLTXLGDWHG1RWKLQJFRQWDLQHGLQWKLV1RWLFHVKDOO
SUHFOXGHDQ\SDUW\IURPREMHFWLQJWRDQ\&ODLPZKHWKHUVFKHGXOHGRUILOHGRQDQ\JURXQGV

                         352&('85()25),/,1*3522)62)&/$,0

3URRIV RI FODLP VKRXOG QRW EH ILOHG ZLWK WKH &RXUW RU ZLWK WKH &OHUN RI WKH &RXUW  $OO
FODLPDQWVDUHGLUHFWHGWRVXEPLWWKHLUSURRIVRIFODLPWR6WUHWWRWKH'LRFHVH¶V&ODLPVDQG
1RWLFLQJ$JHQWDVVHWIRUWKEHORZ


'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 49 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


7R EH FRQVLGHUHG YDOLG HDFK *HQHUDO 3URRI RI &ODLP VXEPLWWHG LQ WKLV&KDSWHU  &DVH PXVW
  D EHGHQRPLQDWHGLQODZIXOFXUUHQF\RIWKH8QLWHG6WDWHVDVRIWKH3HWLWLRQ'DWH E KDYHDWWDFKHG
FRSLHVRIDQ\ZULWLQJVXSRQZKLFKWKHFODLPLVEDVHGLQDFFRUGDQFHZLWK%DQNUXSWF\5XOHV F 
DQG G  LQFOXGLQJIRUVHFXUHGFODLPVHYLGHQFHWKDWWKHVHFXULW\LQWHUHVWKDVEHHQSHUIHFWHG 
DQG F EHDFWXDOO\UHFHLYHGE\6WUHWWRWKH'LRFHVH¶V&ODLPVDQG1RWLFLQJ$JHQWRQRUSULRUWR
WKHDSSOLFDEOH%DU'DWHHLWKHU L HOHFWURQLFDOO\XVLQJWKHLQWHUIDFHDYDLODEOHRQ6WUHWWR¶VZHEVLWH
DWKWWSVFDVHVWUHWWRFRPGLRFHVHRIRJGHQVEXUJRU LL E\GHOLYHULQJDQRULJLQDOFRS\E\KDQGPDLO
RU RYHUQLJKW FRXULHU WR 7KH 5RPDQ &DWKROLF 'LRFHVH RI 2JGHQVEXUJ 1HZ <RUN &ODLPV
3URFHVVLQJ FR 6WUHWWR  ([FKDQJH 6XLWH  ,UYLQH &$  3URRIV RI FODLP VHQW E\
IDFVLPLOHWHOHFRS\RUHPDLOZLOOQRWEHDFFHSWHG
      
,Q RUGHU WR EH FRQVLGHUHG YDOLG HDFK $EXVH 3URRI RI &ODLP PXVW D  EH VLJQHG E\ WKH $EXVH
&ODLPDQW RU VXFK $EXVH &ODLPDQW¶V FRXQVHO RI UHFRUG RU LI VXFK $EXVH &ODLPDQW LV D PLQRU
OHJDOO\LQFDSDFLWDWHGRUGHFHDVHGE\VXFK$EXVH&ODLPDQW¶VSDUHQWOHJDOJXDUGLDQRUH[HFXWRU 
DQG E EHDFWXDOO\UHFHLYHGE\6WUHWWRWKH'LRFHVH¶V&ODLPVDQG1RWLFLQJ$JHQWDVRIWKH*HQHUDO
%DU 'DWH HLWKHU L  HOHFWURQLFDOO\ XVLQJ WKH LQWHUIDFH DYDLODEOH RQ 6WUHWWR¶V ZHEVLWH DW
KWWSVFDVHVWUHWWRFRPGLRFHVHRIRJGHQVEXUJ RU LL  E\ GHOLYHULQJ DQ RULJLQDO WKHUHRI E\ KDQG
GHOLYHU\ILUVWFODVVPDLORURYHUQLJKWFRXULHUWR7KH5RPDQ&DWKROLF'LRFHVHRI2JGHQVEXUJ1HZ
<RUN&ODLPV3URFHVVLQJFR6WUHWWR([FKDQJH6XLWH,UYLQH&$3URRIVRIFODLP
VHQWE\IDFVLPLOHWHOHFRS\RUHPDLOZLOOQRWEHDFFHSWHG$OOFODLPDQWVDVVHUWLQJDQ$EXVH&ODLP
VKRXOGVXEPLWDFRPSOHWHG$EXVH&ODLP6XSSOHPHQWZLWKWKHLUFRPSOHWHG$EXVH&ODLP)RUP
7KHIDLOXUHWRLQFOXGHWKH$EXVH&ODLP6XSSOHPHQWZLWK\RXU$EXVH&ODLP)RUPPD\EH
WKHEDVLVIRUDYDOLGREMHFWLRQWR\RXU$EXVH3URRIRI&ODLP$Q$EXVH&ODLPPD\RQO\EH
PDGHRQDFFRXQWDQLQGLYLGXDOXSRQZKRPDEXVHZDVLQIOLFWHG$Q\RWKHUFODLPPD\EHDVVHUWHG
DV*HQHUDO&ODLP

3URRIV RI FODLP ZLOO EH GHHPHG ILOHG RQO\ ZKHQ DFWXDOO\ UHFHLYHG E\ 6WUHWWR 3URRIV RI FODLP
VXEPLWWHGHOHFWURQLFDOO\ZLOOEHDFNQRZOHGJHGYLDHOHFWURQLFPDLORUFRQILUPDWLRQQXPEHUIURP
6WUHWWRDWWKHWLPHRIVXEPLVVLRQ,I\RXZLVKWRUHFHLYHDFNQRZOHGJHPHQWRI6WUHWWR¶VUHFHLSWRI
DSURRIRIFODLPVXEPLWWHGLQSDSHUIRUPDW\RXPXVWDOVRVXEPLWZLWK\RXURULJLQDOSURRIRIFODLP
  L RQHDGGLWLRQDOFRS\RI\RXURULJLQDOSURRIRIFODLPDQG LL DVHOIDGGUHVVHGSRVWDJHSUHSDLG
UHWXUQHQYHORSH
      
                                   $'',7,21$/,1)250$7,21

<RXPD\EHOLVWHGDVWKHKROGHURID&ODLPLQWKH'LRFHVH¶V6FKHGXOHV,I\RXKROGRUDVVHUWD
&ODLPWKDWLVQRWOLVWHGLQWKH6FKHGXOHVRULI\RXGLVDJUHHZLWKWKHDPRXQWRUSULRULW\RI\RXU
&ODLP DV OLVWHG LQ WKH 6FKHGXOHV RU \RXU &ODLP LV OLVWHG LQ WKH 6FKHGXOHV DV FRQWLQJHQW
XQOLTXLGDWHGRUGLVSXWHG\RXPXVWILOHDSURRIRIFODLP&RSLHVRIWKH6FKHGXOHVDQGWKH%DU
'DWH2UGHUDUHDYDLODEOHIRULQVSHFWLRQGXULQJUHJXODUEXVLQHVVKRXUVDWWKHRIILFHRIWKH&OHUNRI
&RXUW8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH1RUWKHUQ'LVWULFWRI1HZ<RUN8WLFD'LYLVLRQ,Q
DGGLWLRQFRSLHVRIWKH'LRFHVH¶V6FKHGXOHVDQGWKH%DU'DWH2UGHUDUHDYDLODEOHRQWKH6WUHWWR
FDVH PDQDJHPHQW ZHEVLWH DW KWWSVFDVHVWUHWWRFRPGLRFHVHRIRJGHQVEXUJ RU RQ WKH &RXUW¶V
ZHEVLWH KWWSQ\QEXVFRXUWVJRY E\IROORZLQJWKHGLUHFWLRQVIRUDFFHVVLQJWKH(&)V\VWHPRQ
VXFKZHEVLWH D3$&(5SDVVZRUGLVUHTXLUHG 




'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 50 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


5HTXHVWV IRU FRSLHV RI WKH 3URRI RI &ODLP )RUP DQGRU $EXVH &ODLP 6XSSOHPHQW VKRXOG EH
GLUHFWHG WR 6WUHWWR WKH 'LRFHVH¶V &ODLPV DQG 1RWLFLQJ $JHQW DW    6WUHWWR LV QRW
SHUPLWWHGWRJLYH\RXOHJDODGYLFH<RXVKRXOGFRQVXOW\RXURZQDWWRUQH\IRUDVVLVWDQFHUHJDUGLQJ
DQ\RWKHULQTXLULHVVXFKDVTXHVWLRQVFRQFHUQLQJWKHFRQWHQWVRIWKLVQRWLFHRUWKHFRPSOHWLRQRU
ILOLQJRIDSURRIRIFODLP

'DWHGBBBBBBBBBBB

%<25'(52)7+(+2125$%/(3$75,&.*5$'(/
81,7('67$7(6%$1.5837&<-8'*(





'2&6B'(
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 51 of 92
                                                        &RPPLWWHH3URSRVHG%DU'DWH2UGHU


                                           6FKHGXOH

                                       7R3URSRVHG2UGHU 

                                   )RUPRI3XEOLFDWLRQ1RWLFH





'2&6B'(
    Case 23-60507-6-pgr           Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49            Desc
                                   Main Document     Page 52 of 92



                              81,7('67$7(6%$1.5837&<&2857
                          )257+(1257+(51',675,&72)1(:<25.
                                                   
                       In re The Roman Catholic Diocese of Ogdensburg, New York
                                          &DVH1R
                    
                    3/($6(7$.(127,&(7+$72Q-XO\7KH5RPDQ
                    &DWKROLF'LRFHVHRI2JGHQVEXUJ1HZ<RUN ³'LRFHVH´ ILOHGIRU
                    SURWHFWLRQXQGHUFKDSWHURIWLWOHRIWKH8QLWHG6WDWHV&RGH WKH
                    ³%DQNUXSWF\&RGH´ 
                    
                    7KH %DQNUXSWF\ &RXUW KDV HVWDEOLVKHG -DQXDU\   DW
                     SP SUHYDLOLQJ (DVWHUQ WLPH  DV WKH GHDGOLQH DOO
                    FODLPDQWV LQFOXGLQJJRYHUQPHQWDOXQLWV WRILOHSURRIVRIFODLP
                    DJDLQVWWKH'LRFHVH WKH³%DU'DWH´ 
                    
                    ,I \RX KDYH D FODLP DJDLQVW WKH 'LRFHVH LQFOXGLQJ ZLWKRXW
                    OLPLWDWLRQ D FODLP UHODWHG WR DEXVH FRPPLWWHG E\ DQ\ SHUVRQ
                    FRQQHFWHGZLWKWKH'LRFHVH\RXPXVWILOHDFODLPRQRUEHIRUH
                    WKHDSSOLFDEOH%DU'DWH
                    
                    3OHDVH YLVLW KWWSVFDVHVWUHWWRFRPGLRFHVHRIRJGHQVEXUJ RU FDOO
                       IRUPRUHLQIRUPDWLRQRQKRZWRILOH\RXUSURRIRI
                    FODLP
                    
                    ,)<28'21277,0(/<),/($3522)2)&/$,0<28
                    0$<)25)(,7<2855,*+772927(21$1<3/$12)
                    5(25*$1,=$7,21 $1' 72 6+$5( ,1 $1<
                    ',675,%87,216 72 &5(',7256 ,1 &211(&7,21
                    :,7+7+(',2&(6(¶6&+$37(5&$6(




                                                       




    '2&6B'(                                                                 


     Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                            Main Document     Page 53 of 92



                                      ([KLELW&





    Case 23-60507-6-pgr           Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                   Main Document     Page 54 of 92
                                                            Committee Proposed Bar Date Order




UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
                                                         )
In re:                                                   )
                                                         )       Case No. 23-60507 (PGR)
The Roman Catholic Diocese of                            )
Ogdensburg, New York,                                    )       Chapter 11
                                                         )
                            Debtor.                      )
                                                         )

          ORDER ESTABLISHING BAR DATES FOR FILING PROOFS OF CLAIM
           AND APPROVING THE FORM AND MANNER OF NOTICE THEREOF

          Upon the motion of The Roman Catholic Diocese of Ogdensburg, New York (the

“Diocese”), for entry of an order (a) establishing bar dates by which proofs of claim against the

Diocese’s bankruptcy estate must be filed; (b) approving the proposed form to be used for filing

proofs of claim and the abuse claim supplement; (c) approving procedures for maintaining the

confidentiality of certain claims; (d) approving the form and manner of notice of the deadlines to

file proofs of claim; and (e) granting related relief [Docket No. 75] (the “Motion”);1 and all



1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.
                                                             1
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 55 of 92
                                                       Committee Proposed Bar Date Order


objections to the Motion having been resolved or overruled; and upon finding that this Court has

jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; that venue of this

chapter 11 case (the “Chapter 11 Case”) and the Motion in this district is proper pursuant to 28

U.S.C. §§ 1408 and 1409; that this matter is a core proceeding pursuant to 28 U.S.C. § 157(b);

that the relief requested in the Motion is in the best interests of the Diocese, its estate, creditors

and other parties in interest; and that proper and adequate notice of the Motion has been given

and no other or further notice is necessary or required; and after due deliberation with sufficient

cause established,

                IT IS HEREBY ORDERED THAT:

          1.    The Motion is hereby GRANTED as set forth herein.

Establishment of Bar Date

          2.    January 18, 2024, at 11:59 P.M. (prevailing Eastern time) is the deadline for all

persons and entities, including Abuse Claimants (as that term is defined in the Abuse Claim

Supplement) and governmental units, to file prepetition claims in this Chapter 11 Case (the “Bar

Date”).

Approval of Proposed Forms

          3.    The Official Form 410 (the “Proof of Claim Form”), Abuse Claim Supplement,

Confidentiality Agreement, Bar Date Notice, and Publication Notice, in the forms annexed

hereto as Schedules 1, 2, 3, 4, and 5, respectively, are hereby approved.

Who Must File Proofs of Claim

          4.    Except as provided in paragraph 7 of this Order, any person or entity holding a

prepetition claim against the Diocese must file a proof of claim in accordance with the

procedures described herein by the applicable Bar Date. The Bar Date applies to all persons and

                                                  2
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 56 of 92
                                                       Committee Proposed Bar Date Order


entities that assert claims (as defined in section 101(5) of the Bankruptcy Code) against the

Diocese (whether secured, unsecured priority or unsecured non-priority) that arose prior to or on

the Petition Date, including, without limitation, all Abuse Claims (as such term is defined in the

Abuse Claim Supplement).

        5.      Any person or entity who is required to file a proof of claim pursuant to this Order

but fails to do so on or before the applicable Bar Date set forth herein (i) may not be treated as a

creditor with respect to such Claim and may not be entitled to vote to accept or reject, or to share

in any distribution under, any chapter 11 plan proposed and/or confirmed in this Chapter 11

Case.

        6.      The following persons or entities must file a proof of claim on or before the

applicable Bar Date:

             (a)        Any person or entity whose prepetition claim is not listed on the Diocese’s
                        Schedules of Assets and Liabilities filed in this Chapter 11 Case (the
                        “Schedules”) or any amendment thereto, or whose prepetition claim is
                        listed in the Schedules, but is designated as being “contingent,”
                        “unliquidated,” or “disputed,” and who may be entitled to any
                        distributions to creditors that may be made in this Chapter 11 Case;

             (b)        Any person or entity who believes that its prepetition claim is improperly
                        classified in the Schedules or is listed in an incorrect amount and that
                        desires to have its claim allowed in a classification or amount other than
                        as identified in the Schedules; and

             (c)        Any person who wishes to assert an Abuse Claim against the Diocese,
                        regardless of whether such person has previously filed a lawsuit against
                        the Diocese or otherwise has given formal or informal notice of such
                        claims to the Diocese, including any person whose claim may be subject
                        to a statute of limitations.

        7.      The following persons or entities are not required to file proofs of claim at

this time:

                (a)     Any person or entity that has already properly filed a proof of claim
                        against the Diocese with the Clerk of the Court for the United States
                        Bankruptcy Court for the Northern District of New York, Utica Division;
                                                 3
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 57 of 92
                                                       Committee Proposed Bar Date Order


                        except that any person who has asserted a Sexual Abuse Claim should
                        submit a completed Abuse Claim Supplement;

                (b)     Any person or entity: (i) whose claim is listed in the Schedules or any
                        amendments thereto; and (ii) whose claim is not identified therein as
                        “contingent,” “unliquidated,” or “disputed,” and (iii) who does not dispute
                        the amount or classification of its claim as set forth in the Schedules;

                (c)     Any professionals retained by the Diocese or any Committee pursuant to
                        orders of this Court, who assert administrative claims for payment of fees
                        and expenses subject to the Court’s approval, pursuant to sections 330,
                        331(a) and 503(b) of the Bankruptcy Code;

                (d)     Any person or entity that asserts an administrative expense claim against
                        the Diocese pursuant to sections 503(b) or 507(a)(2) of the Bankruptcy
                        Code;

                (e)     Any person or entity whose claim against the Diocese is allowed by an
                        order of the Court entered on or before the applicable Bar Date; and

                (f)     Any person or entity whose claim has been previously settled or paid in
                        full.

Procedure for Filing Proofs of Claim

        8.      Proofs of claim may not be filed with the Court or with the Clerk of the Court.

All claimants are directed to submit their proofs of claim to Stretto, the Diocese’s Claims

and Noticing Agent, as set forth in paragraphs 9 and 10 below.

        9.      In order to be considered valid, each proof of claim submitted in this Chapter 11

Case must: (a) conform substantially to Official Form 410, (b) be denominated in lawful

currency of the United States as of the Petition Date, (c) have attached copies of any writings

upon which the claim is based in accordance with Bankruptcy Rules 3001(c) and 3001(d)

(including for secured claims, evidence that the security interest has been perfected) unless such

writings are voluminous or confidential, in which case a summary must be attached or an

explanation provided as to why such writings are not available and such writings will be

provided to the Diocese and/or the Committee upon request, and (d) be actually received by

                                                 4
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 58 of 92
                                                       Committee Proposed Bar Date Order


Stretto, the Diocese’s Claim and Noticing Agent, as of the Bar Date either (i) electronically using

the interface available on Stretto’s website at https://case.stretto.com/dioceseofogdensburg or (ii)

by delivering an original copy by hand delivery, first class mail or overnight courier to The

Roman Catholic Diocese of Ogdensburg, New York, Claims Processing c/o Stretto, 410

Exchange, Suite 100, Irvine, CA 92602. Proofs of claim sent by facsimile, telecopy, or e-mail

will not be accepted. Notwithstanding the foregoing, in the event that a completed proof of claim

is mailed to or personally delivered to the Clerk of Court for the United States Bankruptcy Court

for the Northern District of New York, Utica Division, the Clerk of Court shall: (i) mark the

document with a date and time of receipt; (ii) maintain a copy of the proof of claim and Abuse

Claim Supplement under seal pursuant to Local Bankruptcy Rules; and (iii) place the proof of

claim and any Abuse Claim Supplement in a sealed envelope marked confidential, and transmit

the sealed envelope via overnight delivery to Stretto at the address for receipt of proofs of claim

above.

         10.    All claimants shall submit their proofs of claim in substantial conformance with

Official Form 410. Any proof of claim asserting a Sexual Abuse Claim (each, an “Abuse Proof

of Claim”) should be accompanied by a completed Abuse Claim Supplement. Where an Abuse

Claim Form is accompanied by an Abuse Claim Supplement, such Abuse Claim Supplement

shall be treated as a portion of such Abuse Proof of Claim for purposes of confidentiality, as is

set forth further in paragraph 12 of this Order. A copy of the Abuse Claim Supplement is

attached hereto as Schedule 2. The failure to submit a completed Abuse Claim Supplement

with any proof of claim asserting an Abuse Claim may be the basis for a valid objection to

such claim.




                                                 5
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 59 of 92
                                                       Committee Proposed Bar Date Order


        11.     If a claimant submits a proof of claim that appears to assert an Abuse Claim prior

to the Bar Date but without including a completed Abuse Claim Supplement, such claim will be

treated as timely filed, and the Diocese shall make a written request to such claimant to submit a

completed Abuse Claim Supplement. The failure to submit an Abuse Claim Supplement prior to

the later of (i) the Bar Date or (ii) ten (10) business days following the date of the Diocese’s

written notice may be grounds to disallow an Abuse Claim.

Establishment of Confidentiality Protocol

        12.     The following confidentiality protocol (“Confidentiality Protocol”) shall apply to

all Abuse Proofs of Claim submitted by Abuse Claimants:

                (a)     All claimants asserting an Abuse Claim should submit such claims
                        directly to Stretto, the Diocese’s Claims and Noticing Agent, using the
                        Proof of Claim Form with a completed Abuse Claim Supplement. Abuse
                        Proofs of Claim should not be filed with the Court.

                (b)     Abuse Proofs of Claim, including any attachments thereto, received by
                        Stretto will be treated as confidential and will be made available only to
                        Authorized Parties (as defined below) unless an Abuse Claimant
                        affirmatively elects to have their Abuse Proof of Claim disclosed publicly.
                        Any claim that appears to be an Abuse Claim that is filed without an
                        Abuse Claim Supplement or as a General Claim shall be treated by Stretto
                        as a confidential claim pending resolution of the claimant’s intent
                        regarding confidential treatment of such claim. The Confidentiality
                        Protocol is for the sole and exclusive benefit of the Abuse Claimants.
                        Accordingly, any Abuse Claimant may elect to make information
                        contained in his or her personal Abuse Claim Supplement public, even if
                        he or she does not elect to have his or her personal Abuse Proof of Claim
                        disclosed publicly. For the avoidance of doubt, Abuse Claimants are not
                        bound by the confidentiality provisions of this Order with respect to
                        disclosures regarding their own abuse or any information disclosed by an
                        Abuse Claimant in his or her Abuse Proof of Claim.

                (c)     Abuse Proofs of Claim and Abuse Claim Supplements received by Stretto
                        shall be held and treated as confidential by Stretto, and copies thereof shall
                        be provided or made available only to the following parties (the
                        “Authorized Parties”):

                             i. The Bishop of the Diocese, officers of the Diocese, and such other
                                current or former employees and representatives of the Diocese or
                                                  6
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr           Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                Main Document     Page 60 of 92
                                                         Committee Proposed Bar Date Order


                                 its parishes, or other persons who are necessary to assist the
                                 Diocese in reviewing and analyzing the Abuse Proofs of Claim and
                                 in effectuating and observing the Diocese’s safe environment
                                 policies. For the avoidance of doubt, any person that was
                                 disclosed to the Diocese as an individual who allegedly committed
                                 an act of sexual abuse, as well as any person identified as an
                                 alleged abuser in an Abuse Proof of Claim shall not be an
                                 Authorized Person with respect to any Abuse Proof of Claim, and
                                 any person who is acknowledged by the Diocese as someone who
                                 committed acts of abuse shall not be an Authorized Person with
                                 respect to any Abuse Proof of Claim, provided, however, that the
                                 Diocese is authorized to discuss the contents of any Abuse Proof of
                                 Claim with a person identified as an alleged abuser who was not
                                 previously acknowledged by the Diocese as an individual who had
                                 committed an act of abuse for the purpose of assessing the claim,
                                 conducting an internal investigation, and complying with the
                                 Diocese’s safe environment policiesassessing the actual claim by
                                 providing any affected Sexual Abuse Claimant, such affected
                                 Sexual Abuse Claimant’s counsel (if any), and counsel to the
                                 Committee, with notice delivered via overnight delivery and e-mail
                                 of such planned disclosure (a “Disclosure Notice”) and an
                                 opportunity to object to such disclosure. If the Diocese receives a
                                 written objection to such disclosure (an “Objection Notice”) on or
                                 before 5 p.m. (Eastern) on the fifth (5th) business day following its
                                 receipt of the Disclosure Notice (the “Objection Deadline”), (a) the
                                 Diocese may not make the disclosure set forth in the Disclosure
                                 Notice until such time as the Court permits such disclosure or the
                                 Committee consents to such disclosure, and (b) the Diocese may
                                 make an application to the Court on no less than five (5) business
                                 days’ notice (or such other time as the Court may allow) seeking
                                 authorization to make such disclosure over the Committee’s
                                 objection. In the event that no Objection Notice is received prior to
                                 the Objection Deadline, the Diocese may make the disclosure set
                                 forth in the Disclosure Notice;

                             ii. Counsel to the Diocese, the Committee, or any other official
                                 committee, retained pursuant to an order of the Bankruptcy Court,
                                 including partners, counsel, associates, and employees of such
                                 counsel;

                             iii. Members of any Committee and their individual counsel (after the
                                  Abuse Proof of Claim has been redacted to remove (a) the
                                  claimant’s name, address, and other information identified in Parts
                                  1 and 2(a) of the Abuse Claim Supplement, the signature block and
                                  any other information which could reasonably be used to
                                  personally identify an Abuse Claimant) and (b) the personally

                                                   7
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr            Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                 Main Document     Page 61 of 92
                                                          Committee Proposed Bar Date Order


                                   identifying information of any other person identified as someone
                                   who was the subject of abuse;

                              iv. Any Insurer that provided insurance or reinsurance that may cover
                                  the claims described in any Abuse Proof of Claim, together with
                                  their respective successors, reinsurers and counsel; provided,
                                  however, that affiliates of any Insurer, and any officer, employee,
                                  agent or representative of such Insurer, that did not provide
                                  insurance or reinsurance to the Diocese shall not be an Authorized
                                  Person, subject to further order of the Court;

                              v.    Any person appointed pursuant to an order of the Bankruptcy
                                   Court to serve as a mediator, as a representative for unknown or
                                   future claimants, or as a special arbitrator/claims reviewer
                                   appointed to review and resolve Abuse Claims, in this Chapter 11
                                   Case or any adversary proceeding filed in this Chapter 11 Case;

                              vi. Any trustee, or functional equivalent thereof, appointed to
                                  administer payments to Abuse Claimants, including pursuant to a
                                  plan of reorganization or a proposed plan of reorganization;

                             vii. Any person with the express written consent of the Diocese and
                                  the Committee, upon 14 days’ notice, or such other time as the
                                  Court may allow, to the affected Abuse Claimant(s);

                             viii. Such other persons as the Court may authorize to access one or
                                   more of the Abuse Proofs of Claim pursuant to subsequent order;
                                   provided, however, that any such determination shall be made on
                                   no less than seven (7) days’ notice to the affected Abuse
                                   Claimant(s), the Committee, and the Diocese; and

                              ix. Counsel of record to any Authorized Party upon execution of a
                                  Confidentiality Agreement by such counsel.

                (d)     Notwithstanding the designation of Authorized Parties above, no person or
                        entity may obtain copies of any Abuse Proof of Claim prior to the
                        execution of a confidentiality agreement substantially in the form attached
                        hereto as Schedule 3 (the “Confidentiality Agreement”); provided,
                        however that a mediator appointed in the case shall not be required to
                        execute a confidentiality agreement if such mediator is currently a
                        Bankruptcy Judge, Magistrate Judge, or District Court Judge. Counsel of
                        record to any Authorized Party shall only be required to execute a single
                        Confidentiality Agreement, which shall be deemed binding on their entire
                        firm. Access to the Abuse Proofs of Claim for all other Authorized Parties
                        shall be restricted to the natural person who executes a Confidentiality
                        Agreement, and a separate Confidentiality Agreement must be signed by
                        each natural person seeking access to the Abuse Proofs of Claim on behalf
                                                    8
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 62 of 92
                                                       Committee Proposed Bar Date Order


                        of an Authorized Party. Copies of all Confidentiality Agreements shall be
                        provided to the Diocese and the Committee through their respective
                        counsel.

                (e)     Authorized Parties in possession of any Abuse Proof(s) of Claim shall
                        keep such Abuse Proof(s) of Claim confidential and shall not use or
                        disclose any information provided in any Abuse Proof(s) of Claim except
                        in accordance with the terms of this Order, the Confidentiality Agreement
                        or pursuant to an order of this Court, unless the Abuse Claimant has
                        elected to make his or her Abuse Proof of Claim public by indicating such
                        consent in Part 1 of the Abuse Claim Supplement.

                (f)     Stretto shall assign to each claimant asserting an Abuse Claim a unique
                        identifier code and shall maintain a confidential list of the identities of the
                        Abuse Claimants, their corresponding identifier code, and their respective
                        Abuse Proof(s) of Claim and/or Abuse Claim Supplement. The
                        confidential list of the identities of Abuse Claimants shall be provided
                        only to such parties that are Authorized Parties entitled to the personally
                        identifying information of Abuse Claimants pursuant to this Order.

Notice of Bar Date

        13.     Within ten (10) business days following entry of this Order, the Diocese shall

serve by United States mail, first-class postage prepaid: (i) the Bar Date Notice and (ii) a copy of

the Proof of Claim Form (together with the Bar Date Notice, the “General Claim Notice

Package”), upon (a) the Office of the United States Trustee; (b) all parties that have filed a notice

of appearance in the Diocese’s Chapter 11 Case; (c) all creditors listed in the Diocese’s

Schedules (except those creditors listed on the portions of Schedule F filed under seal relating to

Abuse Claimants); (d) all parties to executory contracts and unexpired leases of the Diocese; (e)

all persons or entities that have previously filed proofs of claim in the Diocese’s Chapter 11

Case; and (f) such additional persons and entities as the Diocese may deem appropriate or

advisable.

        14.     Within ten (10) business days following entry of this Order, the Diocese shall

serve by United States mail, first-class postage prepaid: (i) the Bar Date Notice, (ii) a copy of this


                                                   9
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr          Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                               Main Document     Page 63 of 92
                                                        Committee Proposed Bar Date Order


Order (without exhibits or schedules), and (iii) a copy of the Proof of Claim Form and Abuse

Claim Supplement (together with the Bar Date Notice and Bar Date Order, the “Abuse Claim

Notice Package”), upon each person, or their respective counsel, who is listed on that portion of

the Diocese’s Schedule F filed under seal. The Diocese shall not be required to send an Abuse

Claim Notice Package to any person who has previously entered into a settlement with the

Diocese regarding an Abuse Claim if the Diocese has performed all of its monetary obligations

under the terms of such settlement.

        15.     In addition to providing direct notice to known creditors as set forth above,

subject to applicable publication guidelines and submission deadlines, the Diocese shall cause a

notice in substantially the form attached hereto as Schedule 5 (the “Publication Notice”) to be

published as follows:

              a.         Once, no later than twenty-one (21) days after the entry of this Order, in
                         USA Today, and

              b.         Twice, with the first publication no later than twenty-one (21) days after
                         entry of this Order and the second publication no later than fourteen (14)
                         days prior to the Bar Date, in The Post Standard, The Times Union, The
                         Watertown Daily Times, the Plattsburgh Press-Republican, North Country
                         This Week, and the North Country Catholic.

        16.     In addition to the foregoing publication, the Diocese shall use reasonable efforts

to take the following additional measures to disseminate information relating to the Bar Date as

soon as practicable following entry of this Order:

                    i.   Beginning no later than five (5) business days after entry of the Bar Date
                         Order and at least through the General Bar Date, the Diocese will cause
                         prominent, one-click links to the General Claim Notice Package and the
                         Abuse Claim Notice Package to be posted on the case management
                         website maintained by Stretto.

                   ii.   The Diocese will establish and maintain, or cause Stretto to establish and
                         maintain, a telephone number which may be used by claimants to ask


                                                  10
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 64 of 92
                                                       Committee Proposed Bar Date Order


                        questions or to request copies of the General Claim Notice Package, the
                        Abuse Claim Notice Package, or parts thereof;

                 iii.   Beginning within ten (10) business days of the entry of this Order and at
                        least through the General Bar Date, the Diocese will cause links to the
                        General Claim Notice Package and the Abuse Claims Notice Package to
                        be posted on the Diocese’s website homepage.

                 iv.    Within ten (10) business days of entry of this Order, the Diocese will issue
                        a press release regarding the Bar Date and including the Bar Date Notice
                        to the news departments of The Post Standard, The Times Union, The
                        Watertown Daily Times, the Plattsburgh Press-Republican, and North
                        Country This Week.

                  v.    The Diocese will provide a copy of the Publication Notice to each parish
                        and ministry (except primary and secondary schools) overseen by the
                        Bishop of the Diocese with a request to display the Publication Notice in a
                        prominent place until the General Bar Date.

        17.     The Court finds that the form and manner of giving notice of the Bar Date as

approved herein fulfills the notice requirements of the Bankruptcy Rules and is reasonably

calculated under the circumstances to apprise both known and potential unknown creditors of the

establishment of the Bar Date and the need to file a proof of claim, consistent with the due

process rights of all parties under the standards established in Mullane v. Central Hanover Bank

& Trust Co., 339 U.S. 306 (1950) and Hecht v. United Collection Bureau, Inc., 691 F.3d 218 (2d

Cir. 2012). Accordingly, the Diocese is authorized and directed to serve and/or publish notice of

the Bar Date in the manner described herein.

        18.     Nothing contained in this Order is intended or should be construed as a finding as

to the validity of any claim against the Diocese, and all parties retain all rights to dispute any

claim on any grounds. All parties retain the right to dispute, or to assert offsets or defenses to,

any claim (whether or not reflected on the Schedules or any amendments thereto) as to amount,

liability, classification, or otherwise, and to subsequently designate any claim as contingent,

unliquidated or disputed.

                                                 11
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 65 of 92
                                                       Committee Proposed Bar Date Order


        19.     In the event that an objection is filed to a Sexual Abuse Proof of Claim, the Abuse

Claimant shall have the right to conduct discovery concerning the basis of the objection to the

Sexual Abuse Proof of Claim.

        20.     The Court retains jurisdiction to hear and determine all matters arising from or

related to the implementation, interpretation and/or enforcement of this Order.

                                               ###




                                                 12
16619698.6
16619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 66 of 92
                                                       Committee Proposed Bar Date Order


                                          Schedule 1

                                      (To Bar Date Order)

                                      Official Form 410




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 67 of 92
                                                       Committee Proposed Bar Date Order


                                          Schedule 2

                                      (To Bar Date Order)

                               Form of Abuse Claim Supplement




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 68 of 92
                                                       Committee Proposed Bar Date Order


UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
                                               )
In re:                                         )
                                               )     Case No. 23-60507 (PGR)
The Roman Catholic Diocese of                  )
Ogdensburg, New York,                          )     Chapter 11
                                               )
                        Debtor.                )
                                               )

                       CONFIDENTIAL ABUSE CLAIM SUPPLEMENT

         THIS FORM MUST BE RECEIVED NO LATER THAN JANUARY 18, 2024
           AT 11:59 P.M. (PREVAILING EASTERN TIME) (THE “BAR DATE”)


         When submitting your Abuse Proof of Claim in this case, the Court strongly
         encourages you to complete this supplemental form, which the Court has
         approved, and include it as an attachment to your Abuse Proof of Claim.
         Submitting this supplemental form at the outset will help streamline the
         process of identifying claims and all applicable insurance coverage and
         expedite a distribution to creditors.



Carefully read the instructions that are included with this CONFIDENTIAL ABUSE CLAIM
SUPPLEMENT and complete all applicable questions.

For purposes of this Abuse Claim Supplement, an “Abuse Claim” is any claim (as defined in
section 101(5) of the Bankruptcy Code) against The Roman Catholic Diocese of Ogdensburg,
New York. (the “Diocese”) resulting or arising in whole or in part, directly or indirectly from any
actual or alleged sexual conduct or misconduct, sexual abuse or molestation, indecent assault
and/or battery, rape, pedophilia, ephebophilia, or sexually-related physical, sexually-related
psychological, or sexually-related emotional harm, or contacts, or interactions of a sexual nature
between a child and an adult, or a nonconsenting adult and another adult, sexual assault, sexual
battery, sexual psychological or emotional abuse, humiliation, or intimidation, or any other
conduct constituting a sexual offense, incest, or use of a child in a sexual performance (as such
terms are defined in the New York Penal Law), and seeking monetary damages or any other
relief, under any theory of liability, including vicarious liability, any negligence-based theory,
contribution, indemnity, or any other theory based on any acts or failures to act by the Diocese or
any other person or entity for whose acts or failures to act the Diocese is or was allegedly
responsible. An “Abuse Claimant” is the person asserting an Abuse Claim against the Diocese.
If the Abuse Claimant is a minor, a parent or legal guardian may complete this Abuse Claim
Supplement on the minor’s behalf. If the Abuse Claimant is deceased or incapacitated, the



16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 69 of 92
                                                       Committee Proposed Bar Date Order


Abuse Claimant’s legal representative or executor of the decedent’s estate may complete this
Abuse Claim Supplement on their behalf.

       THIS ABUSE CLAIM SUPPLEMENT IS FOR ABUSE CLAIMS ONLY.
TO BE VALID, THIS ABUSE CLAIM SUPPLEMENT MUST:

        (A)     Provide responses that are complete and accurate to the best of your knowledge;
        (B)     Be signed by the Abuse Claimant or their counsel of record, except that if the
                Abuse Claimant is a minor, incapacitated or deceased, this Abuse Claim
                Supplement may be signed by the Abuse Claimant’s parent, legal guardian, or
                executor, as applicable; and
        (C)     Be actually received by Stretto, the Diocese’s claims and noticing agent, on or
                prior to the Bar Date, either:
                (i)     electronically using the interface available at:
                        https://case.stretto.com/dioceseofogdensburg; or

                (ii)    via hand delivery, U.S. Mail or overnight courier to The Roman Catholic
                        Diocese of Ogdensburg, New York, Claims Processing c/o Stretto, 410
                        Exchange, Suite 100, Irvine, CA 92602.

ABUSE CLAIM SUPPLEMENTS SENT BY FACSIMILE, TELECOPY, OR E-MAIL
WILL NOT BE ACCEPTED.

YOU MAY WISH TO CONSULT AN ATTORNEY REGARDING THIS MATTER.

FAILURE TO COMPLETE AND RETURN THIS FORM IN A TIMELY MANNER
MAY RESULT IN YOUR INABILITY TO VOTE ON A PLAN OF REORGANIZATION
AND   INELIGIBILITY   TO   RECEIVE    A   DISTRIBUTION  IN   THE
ABOVE-CAPTIONED CHAPTER 11 CASE.

THIS ABUSE CLAIM SUPPLEMENT IS NOT SUFFICIENT TO ASSERT AN ABUSE
CLAIM AGAINST ANY ENTITY OTHER THAN THE DIOCESE.

ANSWER THESE QUESTIONS TO THE BEST OF YOUR KNOWLEDGE AND
ABILITY AT THE TIME YOU COMPLETE THIS FORM.


A PERSON WHO FILES A FRAUDULENT CLAIM COULD BE FINED UP TO
$500,000, IMPRISONED FOR UP TO 5 YEARS, OR BOTH. 18 U.S.C. §§ 152, 157, and
3571.




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 70 of 92
                                                       Committee Proposed Bar Date Order



PART 1: CONFIDENTIALITY

Unless the Abuse Claimant indicates below that the Abuse Claimant wants this document to be
part of the public record, the Abuse Claimant’s identity will be kept strictly confidential, under
seal, and outside the public record pursuant to an Order of the United States Bankruptcy Court
for the Northern District of New York (the “Bankruptcy Court”). However, this Abuse Claim
Supplement and your Proof of Claim Form may be provided, pursuant to confidentiality
procedures approved by the Bankruptcy Court, to the Diocese, certain insurers of the Diocese,
the Official Committee of Unsecured Creditors (the “Committee”), their respective counsel, the
United States Trustee, and such other persons as the Bankruptcy Court may authorize.

ONLY THE ABUSE CLAIMANT MAY WAIVE THE CONFIDENTIALITY OF THEIR
INFORMATION PROVIDED HEREIN.


                              Please select only one option below:


 I wish to keep my identity and all              I authorize my name, identity and this
information herein CONFIDENTIAL.                 Abuse Claim Supplement (together with any
                                                 exhibits and attachments) to be made
                                                 PUBLICLY AVAILABLE AND PART OF
                                                 THE PUBLIC RECORD.


Signature:


Print Name:


IF YOU DO NOT CHECK EITHER BOX, IF YOU CHECK BOTH BOXES, OR IF YOU
DO NOT PROVIDE YOUR NAME AND SIGNATURE ABOVE, YOUR CLAIM WILL
REMAIN CONFIDENTIAL.




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 71 of 92
                                                       Committee Proposed Bar Date Order



PART 2: IDENTIFYING INFORMATION

    a. Abuse Claimant

______________________________________________________________________________
First Name              Middle Initial          Last Name         Suffix (if any)


______________________________________________________________________________
Mailing Address (If party is incapacitated, is a minor or is deceased, please provide the address
of the legal representative submitting the claim. If you are in jail or prison, your current address).

______________________________________________________________________________
City                          State/Prov.       Zip Code (Postal Code)

Telephone No(s):
Home: ____________________ Work: ____________________ Cell: _____________________
If you are represented by counsel, you may provide your attorney’s work phone number instead
of your own.

Email address: ______________________________________________
If you are represented by counsel, you may provide your attorney’s email address instead of your
own.

Social Security Number (last four digits only): ____________________________

If you are in jail or prison, your identification number and location of incarceration:

_____________________________________________________________________

May the Diocese, the Committee, and their respective counsel of record in this chapter 11 case

leave voicemails for you regarding your claim?                Yes             No

May the Diocese, the Committee, and their respective counsel of record in this chapter 11 case

send confidential information to your email?                  Yes             No

Birth Date: _____________________________
               Month      Day   Year

Any other name, or names, by which the Abuse Claimant has been known (including maiden
name, if applicable):

______________________________________________________________________________

16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 72 of 92
                                                       Committee Proposed Bar Date Order



    b. Abuse Claimant’s Attorney (if any):


______________________________________________________________________________
Law Firm Name

______________________________________________________________________________
Attorney’s  First Name        Middle Initial          Last Name

______________________________________________________________________________
Street Address

______________________________________________________________________________
City                     State/Prov.    Zip Code (Postal Code)        Country
                                                               (if other than U.S.A.)


______________________________________________________________________________
Telephone No.           Fax No.                       E-mail address




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 73 of 92
                                                       Committee Proposed Bar Date Order



PART 3: NATURE OF COMPLAINT

(Attach additional separate sheets if necessary)

NOTE: IF YOU HAVE PREVIOUSLY FILED A LAWSUIT AGAINST THE DIOCESE
IN STATE OR FEDERAL COURT, PLEASE ATTACH THE COMPLAINT AND
RESPOND TO THE QUESTIONS BELOW.

    a. Who committed the acts of abuse against you? Individuals identified in this section
         will be referred to as the “abuser” in questions below. If applicable, you may identify
         more than one abuser. Please provide the complete name(s) of each abuser to the best
         of your recollection. If you do not know the name(s) of each abuser, please identify
         them by title, position or other description.

             ____________________________________________________________________

             ____________________________________________________________________

             ____________________________________________________________________

             ____________________________________________________________________

             ____________________________________________________________________


    b. How did you know the abuser? For example, was the abuser at your church, school or
         part of another group with which you were involved? Was the abuser a relative or
         family friend?

            _____________________________________________________________________

            _____________________________________________________________________

    c. If the abuser was affiliated with a church, parish, school, or Diocesan organization,
           please identify such church, parish, school or organization.

            _____________________________________________________________________

            _____________________________________________________________________

    d. Where did the abuse take place? Please be specific and complete all relevant
         information to the best of your recollection, including the names of locations and
         addresses, if known.

             ____________________________________________________________________


16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 74 of 92
                                                       Committee Proposed Bar Date Order


             ____________________________________________________________________

    e. When did the abuse take place? Please be as specific as possible. If you do not recall
         the exact date, provide as much information as possible, including the year and
         season (fall, winter, spring, or summer, or school year and grade).

             ____________________________________________________________________

             ____________________________________________________________________

    f. Do you know how old you were at the time the abuse began and ended? Please be as
          specific as possible. If you do not recall the exact date, provide as much information
          as possible, including the year and season (fall, winter, spring, or summer, or school
          year and grade).

             ____________________________________________________________________

             ____________________________________________________________________

    g. Please describe the nature of the abuse. If you are able, please specify what happened
          (e.g., the circumstances, approximate number of occurrences, frequency, duration,
          and type(s) of abuse):

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 75 of 92
                                                       Committee Proposed Bar Date Order


    h. Have you experienced injury and/or damages because of the act or acts of abuse
         described above? Please provide as much detail as possible. For example, describe
         any injuries or damages, as well as any effect on your emotions, education,
         employment, personal relationships, health, or faith.

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

    i. Have you ever asserted a claim against the Diocese, or against any entity or
         individual other than the Diocese (including, but not limited to, any parish,
         church, school, the Boy Scouts of America or any local council thereof, or any
         other organization) relating to the abuse described in this claim? If you have,
         please state when you asserted the claim, against whom the claim was asserted, the
         manner in which the claim was asserted (for example, a complaint made to law
         enforcement, a lawsuit or demand letter, participation in the Diocese’s Independent
         Reconciliation and Compensation Program (IRCP) or a similar program sponsored by
         an entity other than the Diocese, an informal request for compensation, etc.), and the
         result of such claim (including, for example, whether such claim resulted in a
         settlement or was adjudicated and, if so, the terms of any non-confidential settlement
         or the outcome of such adjudication).

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________

                __________________________________________________________________



16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr            Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                 Main Document     Page 76 of 92
                                                          Committee Proposed Bar Date Order


    j. Did you tell anyone about the abuse and, if so, whom did you tell? If you did tell
          anyone, what did you tell that person and when? You do not need to disclose any
          communications you had with an attorney.

                 __________________________________________________________________

                 __________________________________________________________________

                 __________________________________________________________________

                 __________________________________________________________________

                 __________________________________________________________________


Counsel for the Abuse Claimant or the Abuse Claimant should sign below. If being signed by counsel, please
indicate that you are counsel.

If you are signing the claim on behalf of a minor, decedent or incapacitated person, state
your relationship to the Abuse Claimant.

Under penalty of perjury, I declare the foregoing statements to be true and correct.


Date:


Signature:

Print Name:


Relationship to the Sexual Abuse Claimant:




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 77 of 92
                                                       Committee Proposed Bar Date Order


                                          Schedule 3

                                      (To Proposed Order)

                                  Confidentiality Agreement




16619698.616619698.4
DOCS_DE:245379.1 18493/002
    Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                 Main Document     Page 78 of 92
                                                          Committee Proposed Bar Date Order


UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
                                                      )
In re:                                                )
                                                      )      Case No. 23-60507 (PGR)
The Roman Catholic Diocese                            )
of Ogdensburg, New York,                              )      Chapter 11
                                                      )
                          Debtor.                     )
                                                      )

                 AUTHORIZED PARTY CONFIDENTIALITY AGREEMENT
                      REGARDING ABUSE PROOFS OF CLAIM

This Authorized Party Confidentiality Agreement Regarding Abuse Proofs of Claim
(“Agreement”) is entered into as of [______________], 20[__].

By [_________________________________________________________] (the “Recipient”),
an Authorized Party pursuant to the Order Establishing a Deadline for Filing Proofs of Claim
and Approving the Form and Manner of Notice Thereof (the “Bar Date Order”)1 [Docket No.
___] entered by the United States Bankruptcy Court for the Northern District of New York (the
“Bankruptcy Court”) in the above-captioned chapter 11 bankruptcy case (the “Chapter 11 Case”)
on [_______________], 2023.

WHEREAS, the Recipient will be granted access to Abuse Proofs of Claim filed in the Chapter
11 Case after execution of this Agreement pursuant to and in accordance with the terms of the
Bar Date Order and this Agreement;

WHEREAS, Recipient acknowledges that the Abuse Proofs of Claim contain sensitive,
non-public information, which is to remain confidential pursuant to the Bar Date Order and the
terms of this Agreement; and

WHEREAS, with the exception of counsel of record to Authorized Parties, access to the Abuse
Claim Supplements extends only to the natural person who executes this Agreement and a
separate copy of this Agreement must be signed by each natural person who seeks access to the
Abuse Proofs of Claim on behalf of an Authorized or Permitted Party. Counsel of Record to
Authorized Parties may sign one form on behalf of their firm, and the terms of this Agreement
and the Bar Date Order shall apply to each member, partner, shareholder, counsel, associate,
paraprofessional and employee of the Recipient firm, and all such individuals shall be subject to
the terms of this Agreement and the Bar Date Order as though they had signed it on their own
behalf.




1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Bar Date
Order.


16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 79 of 92
                                                       Committee Proposed Bar Date Order




NOW THEREFORE, IT IS AGREED AS FOLLOWS:

  1.    Recipient agrees that the Abuse Proofs of Claim and any Confidential Information (as
        such term is defined below) contained therein shall be kept confidential pursuant to and
        in accordance with the terms of the Bar Date Order and this Agreement;

  2.    For purposes of this Agreement, the term “Confidential Information” means each Abuse
        Proof of Claim itself, and any information contained in a Abuse Proof of Claim, except
        that Confidential Information shall not include any information (a) that the Abuse
        Claimant elects to permit disclosure of the information contained in the Abuse Proof of
        Claim by authorizing such disclosure pursuant to the terms of the Abuse Claim
        Supplement or (b) information that (i) was known to the Recipient prior to being
        disclosed in an Abuse Proof of Claim, (ii) is or becomes generally available to the public
        through no act or failure to act on the part of the Recipient, (iii) is obtained from a third
        party under no obligation to maintain its confidentiality; or (iv) is developed by the
        Recipient independently without reference to any Abuse Proof of Claim.

  3.    Recipient agrees to not to use or distribute any Abuse Proofs of Claim or Confidential
        Information in violation of this Agreement.

  4.    Recipient may use Abuse Proofs of Claim, and any Confidential Information contained
        therein, only in connection with the evaluation, investigation, prosecution, or defense of
        the claims asserted in such Abuse Proofs of Claim in the Diocese’s Chapter 11 Case, any
        related adversary proceedings or contested matters in the Chapter 11 Case, any related
        insurance or reinsurance coverage demands, claims, disputes, or litigation, for the
        carrying out of the Diocese’s safe environment policies, and settlement negotiations or
        mediations regarding all of the foregoing, and as otherwise required by applicable federal
        or state laws or regulations (each, a “Permitted Use”).

  5.    Recipient shall not disclose any Confidential Information to any other person or entity
        except that Recipient may disclose Confidential Information (i) to any person or entity
        that is an Authorized Party who may receive such information pursuant to the Bar Date
        Order and has executed a copy of this Agreement, (ii) to the Bankruptcy Court or any
        other tribunal of competent jurisdiction so long as such disclosure is made pursuant to a
        Permitted Use and under seal or made in camera, or (iii) pursuant to an order of the
        Bankruptcy Court after a hearing and upon notice to the affected claimant(s) and the
        Diocese.

  6.    Recipient consents to the exclusive jurisdiction of the Bankruptcy Court to adjudicate any
        disputes with respect to any terms, condition or alleged violations of this Agreement or
        the Bar Date Order.

  7.    Recipient shall promptly report any disclosure of Confidential Information in violation or
        breach of this Agreement to the Diocese and the Committee and shall cooperate with



16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 80 of 92
                                                       Committee Proposed Bar Date Order


        efforts to recover and secure any such Confidential Information and/or to mitigate the
        effects of any such disclosure.

  8.    Nothing in this Agreement precludes Recipient from seeking a modification of the Bar
        Date Order or the terms of this Agreement with respect to any proposed disclosure of
        Confidential Information contained in any Abuse Proof of Claim, provided, however, that
        (a) any motion for such modification shall be on notice to all Abuse Claimants and the
        Diocese and (b) Recipient shall not disclose any Confidential Information in connection
        with any such petition unless such disclosure is restricted to the Bankruptcy Court, the
        Diocese, the Committee, the affected claimant(s) and made under seal.

  9.    This Agreement shall become effective as of the date it is delivered to counsel for the
        Diocese.

Dated: _________________, 202__
                                            By:     ____________________________________
                                                    Signature

                                                    ____________________________________
                                                    Print Name




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 81 of 92
                                                       Committee Proposed Bar Date Order




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 82 of 92
                                                       Committee Proposed Bar Date Order


                                          Schedule 4

                                      (To Proposed Order)

                                   Form of Bar Date Notice




16619698.616619698.4
DOCS_DE:245379.1 18493/002
    Case 23-60507-6-pgr           Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                                   Main Document     Page 83 of 92
                                                            Committee Proposed Bar Date Order


UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF NEW YORK
                                                         )
In re:                                                   )
                                                         )      Case No. 23-60507 (PGR)
The Roman Catholic Diocese                               )
of Ogdensburg, New York,                                 )      Chapter 11
                                                         )
                            Debtor.                      )
                                                         )

                   NOTICE OF BAR DATES FOR FILING PROOFS OF CLAIM

TO ALL PERSONS AND ENTITIES WITH CLAIMS AGAINST THE ROMAN CATHOLIC
DIOCESE OF OGDENSBURG, NEW YORK:

YOU SHOULD CONSULT AN ATTORNEY IF YOU HAVE ANY QUESTIONS,
INCLUDING WHETHER YOU HAVE A CLAIM OR WHETHER YOU MUST FILE A
PROOF OF CLAIM. YOU MAY ALSO OBTAIN INFORMATION FROM THE
OFFICIAL COMMITTEE OF UNSECURED CREDITORS BY CALLING
[____________].

         PLEASE TAKE NOTICE that on July 17, 2023 (the “Petition Date”) The Roman
Catholic Diocese of Ogdensburg, New York (the “Diocese”) filed a voluntary petition for relief
under chapter 11 of title 11 of the United States Code (11 U.S.C. §§ 101 et seq., the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Northern District of New York (the
“Bankruptcy Court”). Information regarding the Diocese, its business, and other relevant
information related to this chapter 11 case (the “Chapter 11 Case”) may be obtained at the case
management website maintained by Stretto, the Diocese’s Claims and Noticing Agent at:
https://case.stretto.com/dioceseofogdensburg.

        PLEASE TAKE FURTHER NOTICE that on [______________], 2023, the Bankruptcy
Court entered an order (the “Bar Date Order”)1 establishing January 18, 2024 at 11:59 p.m.
(prevailing Eastern time), as the deadline for all persons and Entities including persons asserting
Abuse Claims and Governmental Units, to file prepetition claims in this Chapter 11 Case (the
“Bar Date”).

       Except as described below, the Bar Date Order requires all persons or Entities, including
Governmental Units, that have or may assert prepetition claims of any nature against the
Diocese, including Abuse Claims, to submit proofs of claim so that they are received by Stretto
on or before the Bar Date. Please note that the terms “Entity,” “Governmental Unit,” “Claim,”
and “Abuse Claim” are defined below.



1
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Bar Date Order.


16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 84 of 92
                                                       Committee Proposed Bar Date Order


       PLEASE TAKE FURTHER NOTICE that all claimants are directed to use the Proof of
Claim Form approved in the Bar Date Order to submit their claim. A copy of the Proof of Claim
Form is enclosed with this Notice. All claimants wishing to assert Abuse Claims are directed to
complete and submit the Abuse Claim Supplement in addition to their Proof of Claim Form. If
the Diocese has identified you as having a potential Abuse Claim, a copy of the Abuse Claim
Supplement is also enclosed with this Notice. If no Proof of Claim Form accompanies this
Notice, or if you wish to assert an Abuse Claim and did not receive an Abuse Claim Supplement,
copies of both the Proof of Claim Form and the Abuse Claim Supplement may be obtained
online by visiting https://case.stretto.com/dioceseofagdensburg, or may be requested by calling
(844) 634-0003.

                                       KEY DEFINITIONS

As used in this Notice, the term “Entity” has the meaning given to it in section 101(15) of the
Bankruptcy Code, and includes all persons (individuals, partnerships and corporations), estates,
trusts, Governmental Units and the United States Trustee.

As used in this Notice, the term “Governmental Unit” has the meaning given to it in section
101(27) of the Bankruptcy Code and includes the United States, States, commonwealths,
districts, territories, municipalities, foreign states, or departments, agencies or instrumentalities
of the foregoing.

As used in this Notice, the term “Claim” shall mean, as to or against the Diocese and in
accordance with section 101(5) of the Bankruptcy Code: (i) any right to payment, whether or not
such right is reduced to judgment, liquidated, unliquidated, fixed, contingent, matured,
unmatured, disputed, undisputed, legal, equitable, secured or unsecured; or (ii) any right to an
equitable remedy for breach of performance if such breach gives rise to a right to payment,
whether or not such right to an equitable remedy is reduced to judgment, fixed, contingent,
matured, unmatured, disputed, undisputed, secured or unsecured.

As used in this Notice, the term “Abuse Claim” shall mean any Claim against the Diocese
resulting or arising in whole or in part, directly or indirectly from any actual or alleged sexual
conduct or misconduct, sexual abuse or molestation, indecent assault and/or battery, rape,
pedophilia, ephebophilia, or sexually-related physical, psychological, or emotional harm, or
contacts, or interactions of a sexual nature between a child and an adult, or a nonconsenting adult
and another adult, sexual assault, sexual battery, sexual psychological or emotional abuse,
humiliation, or intimidation, or any other conduct constituting a sexual offense, incest, or use of
a child in a sexual performance (as such terms are defined in the New York Penal Law), and
seeking monetary damages or any other relief, under any theory of liability, including vicarious
liability, any negligence-based theory, contribution, indemnity, or any other theory based on any
acts or failures to act by the Diocese or any other person or entity for whose acts or failures to act
the Diocese is or was allegedly responsible.




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 85 of 92
                                                       Committee Proposed Bar Date Order


I.      WHO MUST FILE A PROOF OF CLAIM

        a. Bar Date: The Bar Date Order establishes January 18, 2024 at 11:59 p.m.
           (prevailing Eastern time) as the Bar Date. All persons or Entities, including, without
           limitation, any person wishing to assert an Abuse Claim and Governmental Units,
           must file their proofs of claim on or before the General Bar Date.

        b. The Following Persons or Entities Must File a Proof of Claim on or Before the
           Applicable Bar Date:

                 i.   Any person or Entity whose prepetition claim was not listed in the Diocese’s
                      Schedules of Assets and Liabilities filed in this Chapter 11 Case (the
                      “Schedules”), or any amendment thereto, or whose prepetition claim is
                      listed in the Schedules, but is designated as being “contingent,”
                      “unliquidated,” or “disputed,” and who desires to participate in this Chapter
                      11 Case or to share in any distributions to creditors that may be made in this
                      Chapter 11 Case;

                ii.   Any person or Entity who believes that its prepetition claim is improperly
                      classified in the Schedules or is listed in an incorrect amount and that
                      desires to have its claim allowed in a classification or amount other than as
                      identified in the Schedules; and

               iii.   Any person who wishes to assert an Abuse Claim against the Diocese,
                      regardless of whether such person has previously filed a lawsuit against the
                      Diocese or otherwise has given formal or informal notice of such claims to
                      the Diocese, including any person whose claim may be subject to a statute
                      of limitations.

       c. The Following Persons or Entities are Not Required to File Proofs of Claim at this
          Time:

                 i.   Any person or Entity that has already properly filed a proof of claim against
                      the Diocese with the Clerk of the Court for the United States Bankruptcy
                      Court for the Northern District of New York, Utica Division, except that any
                      person who has asserted an Abuse Claim must submit a completed Abuse
                      Claim Supplement in accordance with the requirements of the Bar Date
                      Order;

                ii.   Any person or Entity: (a) whose claim is listed in the Schedules or any
                      amendments thereto; and (b) whose claim is not identified therein as
                      “contingent,” “unliquidated,” or “disputed,” and (c) who does not dispute
                      the amount or classification of its claim as set forth in the Schedules;

               iii.   Any professionals retained by the Diocese or the Committee pursuant to
                      orders of the Bankruptcy Court, who assert administrative claims for


16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 86 of 92
                                                       Committee Proposed Bar Date Order


                      payment of fees and expenses subject to the Court’s approval, pursuant to
                      sections 330, 331(a) and 503(b) of the Bankruptcy Code;

               iv.    Any person or Entity that asserts an administrative expense claim against the
                      Diocese pursuant to sections 503(b) or 507(a)(2) of the Bankruptcy Code;

                v.    Any person or Entity whose claim against the Diocese is allowed by an
                      order of the Bankruptcy Court entered on or before the applicable Bar Date;
                      and

               vi.    Any person or Entity whose claim has been previously settled or paid in full.

II.     CONFIDENTIALITY OF ABUSE CLAIMS

        Pursuant to the Bar Date Order, where an Abuse Claim Form is accompanied by an
Abuse Claim Supplement, such Abuse Claim Supplement shall be treated as a portion of such
Abuse Proof of Claim for purposes of confidentiality. All filed Abuse Proofs of Claim will be
treated confidentially in this Chapter 11 Case unless the Abuse Claimant elects to have his or her
claim publicly disclosed. Any Abuse Proof of Claim that you file will not be available to the
general public, and will be kept confidential, except that information will be provided to
Authorized Parties under the Bar Date Order, all of whom will agree to keep the information
provided by you confidential pursuant to the Bar Date Order.

III.    CONSEQUENCES OF FAILURE TO FILE PROOF OF CLAIM

Any person or Entity that is required to file a proof of claim, but fails to do so on or before
the applicable Bar Date may not be treated as a creditor with respect to such Claim and
may not be entitled to vote to accept or reject, or to share in any distribution under, any
Chapter 11 plan proposed and/or confirmed in this Chapter 11 Case. If it is unclear from
the Schedules whether your Claim is disputed, contingent or unliquidated as to amount or
is otherwise properly listed and classified, you must file a proof of claim on or before the
applicable Bar Date in order to preserve your claim against the Diocese. Any party that
relies on the information in the Schedules bears responsibility for determining that its
Claim is accurately listed therein.


                                 RESERVATION OF RIGHTS

Nothing in the Bar Date Order shall be construed as limiting any party’s rights to: (i) dispute, or
to assert offsets or defenses against, any filed Claim or any Claim listed or reflected in the
Schedules as to nature, amount, liability, classification or otherwise; and (ii) subsequently
designate any Claim as disputed, contingent or unliquidated. Nothing contained in this Notice
shall preclude any party from objecting to any Claim, whether scheduled or filed, on any
grounds.




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 87 of 92
                                                       Committee Proposed Bar Date Order


                       PROCEDURE FOR FILING PROOFS OF CLAIM

Proofs of claim should not be filed with the Court or with the Clerk of the Court. All
claimants are directed to submit their proofs of claim to Stretto, the Diocese’s Claims and
Noticing Agent, as set forth below:

To be considered valid, each General Proof of Claim submitted in this Chapter 11 Case must: (a)
be denominated in lawful currency of the United States as of the Petition Date, (b) have attached
copies of any writings upon which the claim is based in accordance with Bankruptcy Rules
3001(c) and 3001(d) (including for secured claims, evidence that the security interest has been
perfected), and (c) be actually received by Stretto, the Diocese’s Claims and Noticing Agent, on
or prior to the applicable Bar Date either (i) electronically using the interface available on
Stretto’s website at https://case.stretto.com/dioceseofogdensburg or (ii) by delivering an original
copy by hand mail or overnight courier to The Roman Catholic Diocese of Ogdensburg, New
York, Claims Processing c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602. Proofs of
claim sent by facsimile, telecopy, or e-mail will not be accepted.

In order to be considered valid, each Abuse Proof of Claim must: (a) be signed by the Abuse
Claimant or such Abuse Claimant’s counsel of record (or if such Abuse Claimant is a minor,
legally incapacitated, or deceased, by such Abuse Claimant’s parent, legal guardian or executor)
and (b) be actually received by Stretto, the Diocese’s Claims and Noticing Agent, as of the
General Bar Date either (i) electronically using the interface available on Stretto’s website at
https://case.stretto.com/dioceseofogdensburg or (ii) by delivering an original thereof by hand
delivery, first class mail or overnight courier to The Roman Catholic Diocese of Ogdensburg,
New York, Claims Processing c/o Stretto, 410 Exchange, Suite 100, Irvine, CA 92602. Proofs of
claim sent by facsimile, telecopy, or e-mail will not be accepted. All claimants asserting an
Abuse Claim should submit a completed Abuse Claim Supplement with their completed Abuse
Claim Form. The failure to include the Abuse Claim Supplement with your Abuse Claim
Form may be the basis for a valid objection to your Abuse Proof of Claim. An Abuse Claim
may only be made on account an individual upon whom abuse was inflicted. Any other claim
may be asserted as General Claim.

Proofs of claim will be deemed filed only when actually received by Stretto. Proofs of claim
submitted electronically will be acknowledged via electronic mail or confirmation number from
Stretto at the time of submission. If you wish to receive acknowledgement of Stretto’s receipt of
a proof of claim submitted in paper format, you must also submit with your original proof of
claim: (i) one additional copy of your original proof of claim; and (ii) a self-addressed, postage
pre-paid return envelope.

                               ADDITIONAL INFORMATION

You may be listed as the holder of a Claim in the Diocese’s Schedules. If you hold or assert a
Claim that is not listed in the Schedules, or if you disagree with the amount or priority of your
Claim as listed in the Schedules, or your Claim is listed in the Schedules as contingent,
unliquidated, or disputed, you must file a proof of claim. Copies of the Schedules and the Bar
Date Order are available for inspection during regular business hours at the office of the Clerk of
Court, United States Bankruptcy Court for the Northern District of New York, Utica Division.

16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 88 of 92
                                                       Committee Proposed Bar Date Order


In addition, copies of the Diocese’s Schedules and the Bar Date Order are available on the
Stretto case management website at https://case.stretto.com/dioceseofogdensburg, or on the
Court’s website (http://nynb.uscourts.gov/) by following the directions for accessing the ECF
system on such website (a PACER password is required).

Requests for copies of the Proof of Claim Form and/or Abuse Claim Supplement should be
directed to Stretto, the Diocese’s Claims and Noticing Agent at (844) 634-0003. Stretto is not
permitted to give you legal advice. You should consult your own attorney for assistance
regarding any other inquiries, such as questions concerning the contents of this notice or the
completion or filing of a proof of claim.

Dated: ________ ___, 2023

BY ORDER OF THE HONORABLE PATRICK G. RADEL
UNITED STATES BANKRUPTCY JUDGE




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49 Desc
                              Main Document     Page 89 of 92
                                                       Committee Proposed Bar Date Order


                                          Schedule 5

                                      (To Proposed Order)

                                  Form of Publication Notice




16619698.616619698.4
DOCS_DE:245379.1 18493/002
 Case 23-60507-6-pgr         Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49        Desc
                              Main Document     Page 90 of 92



                          UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF NEW YORK

                    In re The Roman Catholic Diocese of Ogdensburg, New York
                                       Case No. 23-60507

                 PLEASE TAKE NOTICE THAT, On July 17, 2023, The Roman
                 Catholic Diocese of Ogdensburg, New York, (“Diocese”) filed for
                 protection under chapter 11 of title 11 of the United States Code
                 (the “Bankruptcy Code”).

                 The Bankruptcy Court has established January 18, 2024 at
                 11:59 p.m. (prevailing Eastern time) as the deadline all
                 claimants (including governmental units) to file proofs of claim
                 against the Diocese (the “Bar Date”).

                 If you have a claim against the Diocese, including, without
                 limitation, a claim related to abuse committed by any person
                 connected with the Diocese, you must file a claim on or before
                 the applicable Bar Date.

                 Please visit https://case.stretto.com/dioceseofogdensburg or call
                 (844) 634-0003 for more information on how to file your proof of
                 claim.

                 IF YOU DO NOT TIMELY FILE A PROOF OF CLAIM,
                 YOU MAY FORFEIT YOUR RIGHT TO VOTE ON ANY
                 PLAN OF REORGANIZATION AND TO SHARE IN ANY
                 DISTRIBUTIONS TO CREDITORS IN CONNECTION
                 WITH THE DIOCESE’S CHAPTER 11 CASE.




DOCS_DE:245379.1 18493/002
16619698.2
16619698.6
16619698.4
Case 23-60507-6-pgr     Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                         Main Document     Page 91 of 92




  Document comparison by Workshare Compare on Tuesday, October 17, 2023
  6:31:46 PM
  Input:
  Document 1 ID       PowerDocs://DOCS_DE/245380/1
                      DOCS_DE-#245380-v1-DOO_Bar_Date_Order_as_filed_
  Description
                      BSK
  Document 2 ID       PowerDocs://DOCS_DE/245379/1
                      DOCS_DE-#245379-v1-DOO_Committee_Bar_Date_Ord
  Description
                      er
  Rendering set       Standard no moves

  Legend:
  Insertion
  Deletion
  Moved from
  Moved to
  Style change
  Format change
  Moved deletion
  Inserted cell
  Deleted cell
  Moved cell
  Split/Merged cell
  Padding cell

  Statistics:
                                        Count
  Insertions                              34
  Deletions                               16
  Moved from                               0
  Moved to                                 0
  Style changes                            0
  Format changes                           0
  Total changes                           50
Case 23-60507-6-pgr   Doc 197 Filed 10/17/23 Entered 10/17/23 18:54:49   Desc
                       Main Document     Page 92 of 92
